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16                             IN THE UNITED STATES DISTRICT COURT
17                                 FOR THE DISTRICT OF ARIZONA

18
     Arizona Yagé Assembly; Winfield Scott
19   Stanley III, in his capacity as Founder and
20   Director of Arizona Yagé Assembly,                    No. 2:20-cv-2373-ROS
21                              Plaintiffs,          JOINT STATEMENT ON
22           v.                                      DISPUTE OVER PLAINTIFFS’
                                                     RESPONSES TO DEFENDANTS’
23   Merrick Garland, Attorney General of the        FIRST SETS OF
     United States, et al.,                          INTERROGATORIES AND
24
                                                     REQUESTS FOR PRODUCTION
25                              Defendants.          OF DOCUMENTS
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 1            Introduction
 2            The parties respectfully provide the following statement regarding their dispute over
 3   the sufficiency of Plaintiffs’ responses to Defendants’ First Set of Requests for Production
 4   (Exs. A and B) and Defendants’ First Set of Interrogatories (Exs. C and D). Following several
 5   conferrals and a deficiency letter from Defendants (Ex. E), Plaintiffs provided a supplemental
 6   response to certain Interrogatories (Ex. D) and a supplemental response to certain Requests
 7
     for Production upon leave of court (Ex. B).1 However, the parties remain at an impasse about
 8
     Plaintiffs providing the information Defendants seek, and their respective positions are
 9
     explained below. While the recitations below are lengthy, the parties have endeavored to distill
10
     and categorize the areas of dispute for ease of review by the Court. Defendants initially
11
     proposed only submitting four categories of disputes in four paragraphs. As detailed below,
12
     Plaintiffs object to including arguments regarding multiple interrogatories and RFPs as a single
13
     issue.   The following statement attempts to merge these approaches by separating the
14
     statement into five categories, and then presenting the discrete issues within those categories
15
     on a request-by-request basis. The five categories are: (1) AYA leadership, structure, &
16
     facilitators; (2) AYA’s safety protocols; (3) AYA’s ayahuasca ceremonies & handling; (4)
17
18   information regarding the sincerity of AYA’s beliefs & practices; and (5) Plaintiffs’ objections.

19   For ease of reference, the parties have included the text of the disputed ROG or RFP and

20   Plaintiffs’ written response to that request.

21
22   Defendants’ General Position Statement:
23   Plaintiffs’ responses fall substantially short of their discovery obligations and deny Defendants
24   information needed to fairly contest Plaintiffs’ “prima facie case under RFRA,” and to
25   establish Defendants’ “affirmative defense.” Gonzales v. O Centro, 546 U.S. 418, 428 (2006). In
26
27            1 Defendants served the First Set of Requests for Production on September 1, 2023

28   (Ex. F). Defendants also served the First Set of Interrogatories on September 1, 2023 (Ex.
     G).

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 1   the 5 months since discovery has been served, Defendants still know very little about AYA,
 2   the safety of its practices, those who lead or attend its ceremonies, and how it imports, handles,
 3   stores, or transports ayahuasca. To date, Plaintiffs have produced only an excel spreadsheet of
 4   2018 survey responses, a screenshot of one email that was included as an exhibit to its PI,
 5   which appears to be altered, and have otherwise refused to search for or produce
 6   communications in response to Defendants’ requests.           Moreover, apart from 39 pages
 7
     describing AYA’s ceremonies, Plaintiffs have largely re-produced documents already included
 8
     in the docket in this case. AYA allegedly brought this action to bring its religious practice “out
 9
     of the shadows,” but refuses to produce any of its documents, leaders or attendants, practices,
10
     or communications. Defendants are entitled to discovery to support their defense and to test
11
     Plaintiffs’ representations. Oklevueha v. Holder, 2013 WL 3243371, at *5 (D. Haw. 2013)
12
     (Defendants are entitled to information to test the “genuineness of Plaintiffs’ religious beliefs
13
     and whether the [CSA] is a substantial burden on those beliefs”). Moreover, for the first time
14
     in this joint statement, Plaintiffs raise a Fourth Amendment objection that has been waived
15
     and otherwise has no bearing in civil discovery—particularly where Defendants seek records
16
     as part of the normal course of discovery (not as part of a search and seizure under the Fourth
17
18   Amendment) in a civil lawsuit initiated by Plaintiffs. See Lease v. Fishel, 2009 WL 922486, at *5

19   (M.D. Pa. Apr. 3, 2009) (“Fourth Amendment is not implicated in [] case” involving civil

20   discovery and overruling that objection); In re Application of O’keeffe, 2016 WL 2771697, at *5

21   (D. Nev. Apr. 4, 2016) (A party may not invoke privacy “to prevent discovery regarding
22   matters that a party places in controversy.”).
23   Plaintiffs’ General Position Statement:
24   Defendants seek to conjure fear of Ayahuasca by quoting Gonzales v. O Centro Espirita
25   Beneficente Uniao do Vegetal, 546 U.S. 418 (2006) for the observation that DMT is
26   “exceptionally dangerous.” However, Defendants truncate the quote to elide the Court’s
27   nuanced observation that “there is no indication that Congress, in classifying DMT,
28   considered the harms posed by the [religious] use at issue.” O Centro Espirita Beneficente

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 1   Uniao do Vegetal, 546 U.S. 418, 423, 126 S. Ct. 1211, 1216 (2006)(emphasis added, internal
 2   cites omitted). Defendants are here to aid the Court to ascertain whether Plaintiffs’
 3   Ayahuasca use is religious and important to them. See, Coronel v. Paul, 316 F. Supp. 2d 868,
 4   878 (D. Ariz. 2004)(religious motivation test adopted). An inquisitorial process is neither
 5   necessary nor appropriate, especially as Defendants essentially admit lacking any grounds to
 6   criminally investigate Plaintiffs. Plaintiffs’ custody of emails and private communications
 7
     with AYA members and other AYA correspondents does not provide Plaintiffs with
 8
     authority to consent to Defendants’ search of correspondents’ papers protected by Fourth
 9
     Amendment warrant requirement. Defendants’ inquiries and demands are also constrained
10
     by the First Amendment. Surinach v. Pesquera De Busquets, 604 F.2d 73, 78 (1st Cir. 1979).
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     Issue 1: Information about AYA leadership, those who facilitate ceremonies or make
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     decisions about participants, and the training of such individuals (Rog Nos. 2, 3, 5, 16;
 2   RFP Nos. 21, 22).
 3   Defendants’ Position:
 4   These requests seek basic but crucial information about AYA’s leadership, including ceremony
 5   facilitators and decision makers and their training. See Oklevueha, 2013 WL 3243371, at *5
 6   (“information concerning the membership and leadership” is “calculated to lead to discovery
 7   of admissible evidence concerning the genuineness of Plaintiffs’ religious beliefs and whether
 8   the [CSA] is a substantial burden on those beliefs”).         This information is relevant to
 9   Defendants’ affirmative defense under RFRA: if AYA establishes its prima facie case,
10   Defendants must make an individualized showing that application of the CSA and its
11
     implementing regulations to AYA is the least restrictive means of furthering a compelling
12
     government interest.     42 U.S.C. § 2000bb-1(b).      Discovery about AYA’s structure and
13
     practices is relevant to this inquiry. Information about who leads ceremonies, trains individuals,
14
     and handles controlled substances is essential to evaluating whether AYA’s practices pose
15
     health or safety risks to participants or diversion risks (and thus health or safety risks to the
16
     broader public), and whether facilitators can be trusted to administer a controlled substance
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     and implement security measures required of DEA registrants handling controlled substances.
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 1      A. Interrogatory No. 2:
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            Plaintiffs’ Response: Over the life of AYA, Stanley has served as “Minister of the
11   Assembly” and “lead facilitator” at virtually all ceremonies, except for occasional exceptions
12   when Stanley was in Peru. Since the establishment of the AYA Maloka in January 2022, Stanley
     has been the lead facilitator for 97% of AYA ceremonies. Stanley is the sole member of the
13   AYA Board of Directors. AYA will provide an anonymized organization chart with
14   descriptions of the type of work performed by AYA staff.

15   Defendants’ Position:
16
     AYA’s interrogatory response is incomplete. AYA does not identify: who other than Stanley
17
     serves as the lead facilitator; the 3-8 other facilitators present at ceremonies, see ROG 16
18
     response; who has served in leadership roles or positions of authority and details about those
19
     roles; who requested to serve in leadership roles, but did not, and why; and AYA’s advisors.
20
     AYA’s disclosure of 7 additional names with no other information does not sufficiently
21
     respond to the request and is insufficient under Rule 26 because it does not “identify the
22
     subjects of that information.” The information is crucial to understanding who is and has been
23
     in AYA leadership, who holds positions of authority over individuals under the influence of a
24
     controlled substance, and who handles AYA’s controlled substances. In addition to identifying
25
     potential witnesses, this information is essential to DEA’s case, such as whether facilitators
26
27   can be trusted to administer a Schedule I controlled substance, implement meaningful security

28   measures required of DEA registrants handling controlled substances, and how/whether AYA


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 1   determines whether someone is or is not fit to serve in leadership. Oklevueha, 2013 WL
 2   3243371, at *5. Limitations on depositions Defendants may take is not a basis for withholding.
 3   Plaintiffs’ Position:
 4   AYA has disclosed eight names of witnesses able to testify in support of AYA’s RFRA case.
 5   The Court should find this disclosure sufficient to satisfy the proportionate needs of the
 6   Defendants, as ten is the maximum number of depositions the Defendants are entitled to take
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     under F.R.Civ.P. 30(a)(2)(A)(i).
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 1      B. Interrogatory No. 3:
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              Plaintiffs’ Response: Each person who has served as lead facilitator at an AYA
 6   ceremony has been personally approved to perform that service to the congregation by
 7   Stanley. Since the establishment of the AYA Maloka in January 2022, Stanley has been the lead
     facilitator for 97% of AYA ceremonies.
 8
 9   Defendants’ Position:
10   Plaintiffs’ response is entirely unresponsive to the request. This request does not ask who
11   approved facilitators or facilitated ceremonies but rather seeks information about the training
12   of those in positions of leadership/authority. “Schedule I substances such as DMT are
13   exceptionally dangerous.” O Centro, 546 U.S. at 432. Should Plaintiffs establish a prima facie
14   case, Defendants must make an individualized showing that enforcing the CSA against
15   Plaintiffs is the least restrictive means of furthering Defendants’ compelling interest. Id.
16   Understanding AYA’s training procedures is essential to evaluating whether the practices for
17   which AYA seeks an exemption pose health/safety risks to participants or diversion risks (and
18   thus concomitant health/safety risks to the broader public). Plaintiffs improperly attempt to
19   supplement their verified response by indicating, for the first time in this joint statement, that
20   individuals leading or facilitating ceremonies do not receive training, thereby underscoring the
21   incompleteness and insufficiency of Plaintiffs’ verified response.         If Plaintiffs wish to
22   supplement their responses, they must do so with proper certification.
23   Plaintiffs’ Position:
24   “Training” in ceremonial practice is not generally an activity separate from ceremony itself,
25   and those who wish to increase their role in the ceremonial activity are not selected according
26   to any specific procedure, or put through any particular training. That said, AYA is currently
27   working towards developing a curriculum for use with those who aspire to perform a facilitator
28


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 1   role, and to enhance the way that ceremony is provided to the community. This project has
 2   not yet generated any working documents; however, as the project progresses, AYA will
 3   supplement its responses. Plaintiffs are not attempting to improperly supplement a response,
 4   but simply explaining the grounds for the response that was provided.
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 1      C. Interrogatory No. 5:
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            Plaintiffs’ Response: AYA has a list of people who will not be allowed to participate in
 9   ceremonies in the future. People can be put on the list for a variety of reasons. Stanley always
10   makes the final determination for whether someone will be put on the list. When someone is
     put on the list, they are told personally, orally, and sometimes they have been told in writing.
11   Aside from this list, there are no records from which to compile the information requested.
12   Defendants’ Position:
13   Plaintiffs’ response is incomplete, answering only part of the request. Plaintiffs’ statement that
14   “people can be put on the list for a variety of reasons” does not reveal, as the request asks, the
15   reason for why someone was not approved to participate, who made that decision, and how
16
     it was communicated. This information is relevant to how AYA’s screening process is
17
     operationalized and communicated. This would include, but is not limited to, a denial of
18
     participation based on AYA’s intake form and medical questionnaire or because a person did
19
     not comply with AYA’s ceremonial guidelines. If this information is conveyed in writing
20
     (whether by email or another form of written communication), Defendants have requested
21
     and are entitled to production of such information. Because a protective order is now in place,
22
     Plaintiffs must provide this information in an unredacted, non-anonymized form. This request
23
     does not seek a “confession” between a spiritual advisor and parishioner and thus the priest-
24
     penitent privilege does not apply. See Issue 5.D, infra. It is insufficient that Plaintiffs’ refusal
25
     to provide a complete response is based on supposition below (not in a verified response) that
26
27   the reason for being placed on a list is “likely” because of something an individual said or did.

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 1   Plaintiffs’ Position:
 2   Seeking list of people who have been banned from AYA ceremony, and the reasons why,
 3   masks an improper effort by the Defendants to judge the religious beliefs of the Plaintiffs.
 4   Plaintiffs have offered to provide anonymized information responsive to this Interrogatory,
 5   and the Court should require no more. An inquiry into the identity of third-parties to this
 6   litigation “not approved to participate to participate in ceremony” is irrelevant to determining
 7
     any matter in support of Plaintiffs’ claims or Defendants’ defenses. Such information may be
 8
     protected from disclosure by the priest-penitent privilege (ARS § 12-2233), that applies where
 9
     “"The clergy member receiving the confidential communication [is] enjoined by the practices
10
     or rules of the clergy member's religion to receive the confidential communication and to
11
     provide spiritual counsel." Waters v. O'Connor, 209 Ariz. 380, 385, 103 P.3d 292, 297 (Ct. App.
12
     2004). When Mr. Stanley tells someone not to come back to ceremony, that is likely because
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     of something that individual said or did, and thus, the privilege has likely application.
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 1      D. Interrogatory No. 16:
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             Plaintiffs’ Response: Plaintiffs state that we are continually in a process of call and
 5   response with our members in and out of ceremony. We share significant peer support within
 6   the anonymity of our church membership. We would consider it a betrayal of trust to see the
     release of these names and the tenor of these conversations to public agencies. One of our
 7   teachers in Peru is Eladio Melendez Garcia, whose statement of support has already been
     entered into the record. Jonathan Goldman, director for the Asland, Oregon branch of the
 8   Santo Daime has been a great benefit to our efforts in sharing his wisdom and support. His
 9   declaration has, likewise, been entered into the record. Our community for peer support is
     significant, including the 38 churches now enrolled as members in the North American
10   Association of Visionary Churches (NAAVC). Although some member churches in the
11   NAAVC may be small, with congregations under 100, other churches are far larger with
     congregations larger than 1,000. We draw spiritual support within our religious community.
12   We are seeking to learn from and protect our religious community, our teachers, and our peers.
13   Federal investigations of identified members of our community at their homes, though the
     mails, online, or through this legal action, would squelch our practices of speech and religious
14   practice no less than positioning Federal investigators or squad cars outside of a Catholic
     church, no matter how well intended, to ask about that day’s confessions. That said, how
15   members of our congregation represent their religious practices within their own families,
16   professions, schools, secular and orthodox communities is already clearly inhibited, as
     identified in the surveying of our membership already entered into the record of this case.
17
18   Defendants’ Position:
19   Plaintiffs’ response is insufficient, and Plaintiffs may not rely on anonymity to avoid answering
20   this question. It is implausible that Plaintiffs rely only on Eladio Menendez and Jonathan
21
     Goldman as the source of peer support, and inconsistent with Stanley’s declaration in which
22
     he stated that Plaintiffs also consulted with “community lions such as” Jeffrey Bronfman and
23
     Jonathan Goldman. Dkt. No. 33-1 at 8. The words “peer support” is a term used by Plaintiffs,
24
     and they are responsible for explaining what that term means and providing responsive
25
     documents.    Defendants are not seeking to invoke “federal investigations of identified
26
     members,” in disclosing this information. Plaintiffs filed this lawsuit, and Defendants are
27
     entitled to discovery about its practices. This request seeks documents relevant to identifying
28


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 1   potential witnesses and evaluating the safety and sincerity of Plaintiffs’ practices. To date,
 2   Plaintiffs have not produced any redacted documents responsive to this request, and in any
 3   event, such redactions are inappropriate as Plaintiffs can only protect personally identifiable
 4   information by designating it as confidential under the Protective Order.
 5
 6   Plaintiffs’ Position:
 7
     Plaintiffs responsively have disclosed: (1) the names of Mr. Stanley’s teacher, Eladio Menendez
 8
     Garcia, and Jonathan Goldman, Mestre of the Santo Daime that received a RFRA judgment
 9
     in favor of his church and exoneration from criminal allegations due to his Ayahuasca use;
10
     and, (2) AYA’s membership in the North American Association of Visionary Churches and
11
     its member churches. It is unclear what further disclosures Defendants reasonably expect, or
12
     how they would be relevant to any defense the Defendants have alleged in their Answer. That
13
     Defendants find these facts “implausible,” and project the existence of other inspirators for
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     the Plaintiffs does not create discoverable information. Further information is not available.
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 1      E. RFP No. 21:
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            Plaintiffs’ Response: Responsive documents exist, and have been produced previously.
 7   Additional responsive documents will be produced, with redactions of personally-identifying
 8   information. Some responsive documents are communications with experts that will be
     produced during the expert disclosure and discovery phase of this litigation.
 9
10   Defendants’ Position:
11   Apart from a single screenshot of an altered email, Plaintiffs have not produced a single
12   communication in response to this request, despite stating that the “sharing of knowledge and
13   feedback among peers is crucial,” Dkt. No. 33-5 at 3, and acknowledging AYA’s membership
14   the NAAVC, Ex. D at 36. This request seeks documents relevant to identifying potential
15   witnesses and evaluating the safety and sincerity of Plaintiffs’ practices and has nothing to do
16   with determining the “sanctity” of communications. Defendants have a compelling interest
17
     in “reducing the incidence of illicit, recreational” use of ayahuasca, including by preventing its
18
     diversion to “people whose use is disconnected from any sincere religious practice.” United
19
     States v. Christie, 825 F.3d 1048, 1057 (9th Cir. 2016). Hobby Lobby has no bearing on this
20
     question: both the genuineness of the Plaintiffs’ beliefs and the nature and character of those
21
     beliefs is at issue. Plaintiffs’ response does not indicate that they intend to withhold any
22
     documents, only that they intend to produce redacted documents (which they have not done).
23
     Regardless, such redactions are inappropriate as Plaintiffs can only protect PII by designating
24
     it as confidential under the Protective Order.
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 3   Plaintiffs’ Position:
 4   Plaintiffs have provided responsive documents and offered to provide additional documents
 5   with redactions of personally identifying information. Such redactions will not result in any
 6   loss of relevant information, and will protect the confidentiality of what are religious
 7
     communications with co-religionists. The Defendants are not theologians, qualified to judge
 8
     the sanctity of Plaintiffs’ communications, and appear to be straying into “unsavory inquiries
 9
     that violated the rights of individual believers and undermined the traditional prohibition
10
     against a judicial resolution of theological disputes,” of which this Court wrote disapprovingly
11
     in Coronel v. Paul, 316 F. Supp. 2d 868, 878 (D. Ariz. 2004). Yes, the Plaintiffs must satisfy the
12
     “religious motivation test” to prevail on its RFRA claim, but the Defendants have no license
13
     to scrutinize the rationality of AYA’s beliefs. See, Burwell v. Hobby Lobby Stores, Inc., 573 U.S.
14
     682, 765, 134 S. Ct. 2751, 2801 (2014)(exemption from duty to provide insurance for
15
     contraception granted to plaintiffs who believed certain contraceptives cause abortions).
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 1      F. RFP No. 22:
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            Plaintiffs’ Response: Responsive documents exist, and have been produced previously.
 5   Additional responsive documents will be produced, with redactions of personally-identifying
 6   information.
 7
 8   Defendants’ Position:

 9   Plaintiffs misconceived this request, which seeks documents that “identify, describe, refer to,

10   or contain materials” that AYA uses in training referenced individuals. “Schedule I substances

11   such as DMT are exceptionally dangerous.” O Centro, 546 U.S. at 432. Defendants must make
12   an individualized showing that enforcing the CSA against Plaintiffs is the least restrictive
13   means of furthering Defendants’ compelling interest. Id. Documents related to the training
14   of individuals in positions of authority is relevant to the government’s compelling interest,
15   such as whether the practices for which AYA seeks an exemption pose health or safety risks
16   to participants or diversion risks (and thus concomitant health / safety risks to the broader
17   public). Such documents may demonstrate whether AYA trains its facilitators on what to do
18   in a medical emergency or provides training to ensure medical, psychological, and sexual safety
19   of participants; or whether a person not under the influence is present in case of a medical
20   emergency. The request is also relevant to determine whether AYA facilitators can be trusted
21
     to administer a Schedule I controlled substance. Without seeing these newsletters, Defendants
22
     do not know such information is relevant to training or the complete source of such materials.
23
     Plaintiffs’ Position:
24
     This RFP is disproportionate if the “any and all documents that identify, describe, refer to, or
25
     contain” description is applied literally; however, Plaintiffs have responded with all currently-
26
     available “materials used in the training of individuals who hold a leadership role,” and have
27
     produce relevant documents. Currently, Plaintiffs are preparing production of the largest
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 1   source of relevant material – over a hundred pages of the AYA Newsletter for two years of
 2   publication. From this Newsletter document irrelevant information such as first names of
 3   some members who are mentioned in the Newsletters can be redacted without diminishing
 4   the relevance of the entire document. The relevant point of the Defendants’ would be to learn
 5   what training AYA offers, not the identities of the persons who receive it.
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     Issue 2: Information about AYA’s ayahuasca ceremonies and the safety protocols for
 1
     ceremony participants (Rog Nos. 3-5, 7-9, 14, 17; RFPs Nos. 3, 11-17, 23).
 2
 3   Defendants’ Position:
 4   These requests seek highly relevant information about the existence and sufficiency of AYA’s
 5   protocols to screen participants and ensure their safety during ceremonies. Defendants, for

 6   example, ask about how AYA determines whether someone may participate in a ceremony;

 7   the amount of ayahuasca served at ceremonies; medical or psychological assistance offered
     during ceremonies; the setting of ceremonies; and other safety measures to ensure the medical,
 8
     psychological, and sexual safety of participants. Defendants also seek general information
 9
     about participants, including how often individuals participate, and whether persons have been
10
     denied participation and on what basis. AYA seeks a religious exemption to handle and
11
     dispense a Schedule I controlled substance with known risks, and yet refuses to provide the
12
     kind of information that would has to be disclosed by any DEA registrant handling controlled
13
     substances. Because Defendants must scrutinize “the asserted harm of granting specific
14
     exemptions to particular religious claimants,” O Centro, 546 U.S. at 431, this information is
15
     relevant to determine whether AYA’s practices pose dangers to participants’ health or safety
16   or a risk of diversion, as well as whether AYA’s activities are sincere and religious.
17
     Plaintiffs’ Position:
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     Plaintiffs will present their argument specifically to each discovery demand and response.
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 1      A. Interrogatory No. 3:
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              Plaintiffs’ Response: Each person who has served as lead facilitator at an AYA
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     ceremony has been personally approved to perform that service to the congregation by
 7   Stanley. Since the establishment of the AYA Maloka in January 2022, Stanley has been the lead
     facilitator for 97% of AYA ceremonies.
 8
 9   Defendants’ Position:
10   Plaintiffs do not identify a single instance in which Plaintiffs provided training; nor do
11
     Plaintiffs deny having ever provided training. They also do not provide the requested
12
     information about such trainings, if they exist. Accordingly, Plaintiffs’ response is insufficient.
13
     Defendants must make an individualized showing that enforcing the CSA against Plaintiffs is
14
     justified as the least restrictive means of furthering Defendants’ compelling interest.
15
     Accordingly, information specifically about AYA’s practices is relevant. Understanding AYA’s
16
     leadership training is essential to critical aspects of Defendant’s case, including whether AYA’s
17
     ceremonies pose health, safety, or diversion risks and whether facilitators can be trusted to
18
     administer a Schedule I controlled substance.
19
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     Plaintiffs’ Position:
21
     Plaintiffs have previously addressed Interrogatory No. 3 above, and incorporate that
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     argument here by reference.
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 1      B. Interrogatory No. 4:
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            Plaintiffs’ Response: n/a
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 9   Defendants’ Position:
10   Plaintiffs refused to respond to this request in its entirety. Information regarding who and
11   how many people consume or request to consume ayahuasca—and if they are denied, why—
12   is essential to critical aspects of Defendants’ case, including whether AYA’s ceremonies pose
13
     health, safety, or diversion risks, and whether AYA limits administrating ayahuasca to sincere
14
     believers. This request is also relevant to determine whether individuals can join AYA under
15
     false pretenses to obtain access to ayahuasca, for example, if a large portion of participants
16
     only partake in one ceremony. Christie, 825 F.3d at 1057 (considering whether “distribution
17
     methods create[] a realistic probability that [the substance] intended for members” would be
18
     “distributed instead to outsiders who were merely feigning membership ... and adherence to
19
     [the group’s] religious tenets”). Moreover, a party may not invoke privacy “to prevent
20
     discovery regarding matters that a party places in controversy.” In re Application of O’keeffe,
21
     2016 WL 2771697, at *5 (D. Nev. Apr. 4, 2016); see also Lease, 2009 WL 922486, at *5, infra at
22
     5. Finally, this request is not overly burdensome. Should AYA prevail on the very relief it
23
24   seeks, AYA must comply with detailed recordkeeping requirements. See, e.g., 21 C.F.R. § 1304.

25
26   Plaintiffs’ Position:

27   This interrogatory is disproportionate to the needs of the case, and compelling a response

28   will not produce information relevant to the action. Defendants seek information derivable


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 1   only from personal emails of AYA correspondents as to which they have a reasonable
 2   expectation of privacy, protected from compelled disclosure to Defendants except upon a
 3   showing of probable cause. Plaintiffs have no authority to consent to digest the emails of
 4   their correspondents to determine “when the person attended … requested to attend or …
 5   was permitted to attend .. and any explanation as to why or why not the person was
 6   permitted to attend or participate.” Further, it would require a skilled archivist hundreds of
 7
     hours to compile the information, at a financial cost that Plaintiffs have not yet quantified,
 8
     but request leave to do, should the Court somehow think this amount of labor warranted.
 9
     Of course Plaintiffs, once protected by a judicial decree under RFRA, would be willing to
10
     disclose the limited information necessary to obtain a DEA registration number; however,
11
     that would not extend to disclosing all of AYA members and other correspondents. The
12
     disclosures required by the DEA would be satisfied by disclosing five AYA members.
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 1      C. Interrogatory No. 5:
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 8           Plaintiffs’ Response: Plaintiffs propose to provide a selection of anonymized
 9   documents showing one or more instances of the sort sought by this interrogatory, with
     personal and location identifiers of non-parties redacted.
10           AYA has a list of people who will not be allowed to participate in ceremonies in the
11   future. People can be put on the list for a variety of reasons. Stanley always makes the final
     determination for whether someone will be put on the list. When someone is put on the list,
12   they are told personally, orally, and sometimes they have been told in writing.
     Aside from this list, there are no records from which to compile the information requested.
13
14
     Defendants’ Position:
15
     Plaintiffs fail to identify a single instance in response to this request. Instead, Plaintiffs offer
16
     to provide anonymized documents of cherry-picked instances, which is insufficient—now that
17
     a protective order is in place. Defendants request a list of all persons denied participation and
18
     information regarding that decision to determine how AYA’s policy works in practice, not in
19
     Plaintiffs’ hand-selected instances. Information about who and why AYA denied participation
20
     is highly relevant to determine whether AYA properly screens and excludes participants to
21
     protect the health and safety of ceremony participants, and adequately avoids diversion risks.
22
     Such a determination is necessary to the individualized RFRA inquiry. See Oklevueha, 2013 WL
23
     3243371, at * 6 (finding requests “concerning the membership” of a religious organization
24
     were “reasonably calculated to lead to discovery of admissible evidence concerning the
25
26   genuineness of Plaintiffs’ religious beliefs and whether the [CSA] is a substantial burden on

27   those beliefs”). Plaintiffs say this request is overly burdensome, yet they already possess “a

28   list of people who will not be allowed to participate in ceremonies in the future,” but simply


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 1   refuse to disclose it.
 2   Plaintiffs’ Position:
 3   Plaintiffs answered the request to “identify the person who made the decision” not to allow
 4   someone to participate in an AYA ceremony as Plaintiff Stanley, who “decided all cases
 5   where a person was declined an opportunity to participate in an AYA ceremony.” In
 6   response to the disproportionate demand to comb through documents and elicit a
 7
     multiplicity of information regarding each occasion when someone was declined a place in
 8
     an AYA ceremony (why they were declined, how they were told, and whether the person
 9
     was ever allowed to attend), Plaintiffs offered, pursuant to F.R.Civ.P. 33(d) “to provide a
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     selection of anonymized documents showing one or more instances of the sort sought by
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     this interrogatory, with personal and location identifiers of non-parties redacted.”
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 1      D. Interrogatory No. 7:
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              Plaintiffs’ Response: Plaintiffs state that Ayahuasca is not a drug, any more than a
 7   human being is no more than a cascade of chemical reactions regulatable in total by either
 8   drug or governmental interactions. That said, dosage levels are measured and varied to
     individuals based on factors of weight, sensitivity profiles identified in intake questionnaires,
 9   and response to the initial dose of medicine. Once the sacrament is consumed, a significant
     degree of the practitioner’s journey relies on their intention and willingness to accept the
10
     teachings found within their ceremonial experience. For the uninitiated, these experiences
11   might be most easily described as states of struggle and surrender. Struggle, in the context of
     ceremony, might be described as the individual forcefully trying to direct their experience in
12   an arresting and judgmental fashion. Surrender might best be described as a nonjudgmental
13   state of acceptance. In opening talks to ceremony prior to drinking, it’s commonly stated that
     “We are all students of struggle and surrender, joy and sorrow, love and forgiveness.” These
14   inner states are just as regulatory to the experience as the actual dosage levels themselves.
15   These inner states also attune to ceremonial music and the ceremonial setting. Dosage levels
     must be considered in this context. Dosage levels, specifically, are regulated by the lead
16   facilitator to assure that each practitioner can get the most out of their experience.
     Additionally, purging of La Medicina is also a self-regulating factor in the experience of the
17
     participant. These six factors (dose level, intentions, inner-states of acceptance or struggle,
18   purging, music, and setting) all work in tandem for the regulating of the practitioner’s
     experience. It is the prayer, both prior and following the ingesting of the sine-qua-non host,
19   that is an essential element for connecting with Divine Will in any church, regardless of
20   governmental categorizations. We might also add that the unresolved legal case now before
     the court also effects dosage levels. There are people who will not participate in our church
21   services until this case is resolved favorably.
22
23   Defendants’ Position:

24   Plaintiffs’ response to this interrogatory is insufficient as Plaintiffs do not identify a single

25   instance where an additional serving was denied, nor do Plaintiffs assert this has never

26   occurred. Plaintiffs below attempt to supplement their response regarding Stanley’s role
27   during the ceremony, further demonstrating that Plaintiffs’ verified response is incomplete
28   and insufficient. “Schedule I substances such as DMT are exceptionally dangerous.” O Centro,


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 1   546 U.S. at 432. Should Plaintiffs establish a prima facie case, Defendants must make an
 2   individualized showing that enforcing the CSA against Plaintiffs is justified as the least
 3   restrictive means of furthering Defendants’ compelling interest. Id. Information about
 4   whether and why additional servings were denied to participants (and whether such a denial
 5   was precipitated by a request for assistance) is relevant to determining whether AYA’s
 6   individual practices pose dangers to participants’ health or safety.
 7
     Plaintiffs’ Position:
 8
     This interrogatory seeks to learn matters that are not recorded, and thus lie outside of AYA’s
 9
     institutional knowledge, or Plaintiff Stanley’s direct recollection: “[E]very [time] a ceremony
10
     participant’s request to receive ‘an additional serving’ was denied, including the date, time,
11
     and location of the ceremony,” whether the person got sick, needed medical attention, came
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     back for another ceremony, etcetera. Plaintiff Stanley isn’t taking notes when he administers
13
     a ceremony. Rather, he is attending to six factors at work among the congregation -- dose
14
     level, intentions, inner-states of acceptance or struggle, purging, music, and setting. As he
15
     says, all “work in tandem for the regulating of the practitioner’s experience.” Accordingly,
16
     “dose level” is only one of several factors that determine whether a ceremonial participant
17
18   wants or receives “an additional serving,” and it may very well be that what the congregation

19   needs is another song, a change of music, some cleansing puffs of incense or mapacho

20   (native tobacco), and then, when the right set is established, another drink of Ayahuasca.

21   This is the art of ceremony. The Defendants’ desire to turn it into a medical procedure
22   doesn’t create discoverable facts.
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 1      E. Interrogatory No. 8:
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            Plaintiffs’ Response: Without waiver of the said objections, Plaintiffs state that
 6   Defendants should refer to our medical intake questionnaire. Non-participation in ceremony
     for medical reasons includes, drug contraindications such as SSRI’s and hypertensives, and
 7
     physical issues, including but not limited to to heart, lung, kidney, digestive, arterial, and liver
 8   function. Each intake form is reviewed on a case-by-case basis.
            A “yes” answer to any of the questions on the current version of the referenced
 9   document (previously produced) would prompt further inquiry before deciding whether to
10   decline the application.

11
     Defendants’ Position:
12
     Plaintiffs provide contradictory responses in their interrogatory response (above) and their
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     position below. In their interrogatory response, Plaintiffs indicate that a “yes” answer would
14
     result in further inquiry, while below, Plaintiffs indicate a person who provided a “yes” answer
15
     would be denied participation. In their interrogatory response, Plaintiffs do not identify a
16
     single response that would result in denying participation. Nor does Plaintiffs assert there is
17
18   no response that would result in a denial, despite asserting so in litigation. See Dkt. 33 at 3.

19   Plaintiffs’ response is both inaccurate with previous representations and insufficient.

20   “Schedule I substances such as DMT are exceptionally dangerous.” O Centro, 546 U.S. at 432.

21   Information about all medical reasons that would result in AYA’s denial of participation is

22   highly relevant to determine whether AYA properly screens and excludes participants to
23   protect their health and safety. Moreover, Plaintiff previously stated that if certain conditions
24   are disclosed “further inquiries are made of the prospective practitioners,” which implies that this
25   is not a “hypothetical scenario.” See Dkt. 33 at 3. If AYA has never denied participation or
26   made the referenced inquiries, it must say so.
27
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 1   Plaintiffs’ Position:
 2   This interrogatory seeking “what [disclosure], if provided by a prospective ceremony participant,
 3   would result in you determining that the prospective participant was not eligible,” seeks an
 4   answer to a hypothetical question, not discovery of existing facts. Nonetheless, pursuant to Rule
 5   33(d), Plaintiffs directed the Defendants to Plaintiffs’ medical questionnaire, from which all relevant
 6   information on this topic may be derived, and noted that persons would be denied for “drug
 7
     contraindications such as SSRI’s and hypertensives, and physical issues, including but not
 8
     limited to heart, lung, kidney, digestive, arterial, and liver function.” Plaintiffs have no
 9
     additional information to provide, and speculation about circumstances that haven’t arisen,
10
     but might result in a denial of permission to attend ceremony, are speculative matters
11
     irrelevant to any claim or defense.
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 1      F. Interrogatory No. 9:
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             Plaintiffs’ Response: Plaintiffs state that their written protocols derive from ancient
 6   unwritten practices passed through the indigenous media of song, art, and dance, and not from
 7   scientific studies. Scientific and medical protocols have been incorporated as useful and
     beneficial, including dietary and medication restrictions for consumption of MAO inhibiting
 8   beta carbolenes present in Ayahuasca. Medical professionals regularly attend our ceremonies.
 9   Plaintiffs’ practices square with the published medical studies and expert medical testimony
     entered into the record. The manner in which the written protocols were generated would not
10   be probative of any matter in dispute.
             Plaintiffs do not intend to offer evidence that the referenced document was drafted by
11
     medical professionals.
12
13   Defendants’ Position:
14   Once again, Plaintiffs improperly attempt to supplement their interrogatory responses below,
15   further demonstrating that their responses are incomplete and insufficient. In their response
16   to this request, Plaintiffs neither confirm or deny whether any medical or trained professionals
17   were involved in drafting the referenced document. Plaintiffs’ also respond that “scientific
18   and medical protocols have been incorporated” but do not identify which protocols or expert
19   studies they are referring to. Plaintiffs’ response is thus incomplete and insufficient. Dkt No.
20   33-7 provides “important preparatory materials below that you’ll absolutely need to participate
21
     in the best possible fashion.” Information concerning the medical consultation and basis for
22
     the guidance provided to ceremony participants is relevant to determining whether AYA’s
23
     practices pose dangers to participants’ health or safety. It is also relevant to identifying
24
     potential witnesses.
25
     Plaintiffs’ Position:
26
     This interrogatory seeks the identity of “medical or other trained professionals” involved in
27
     drafting a document (Dkt. No. 33-7). This is a lot like asking a restaurant which doctor
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 1   drafted their Covid policy, or which doctor told them to wear masks in the kitchen.
 2   Plaintiffs haven’t contended that the document was drafted by medical personnel. Rather,
 3   Plaintiffs explained: “Plaintiffs … written protocols derive from ancient unwritten practices
 4   passed through the indigenous media of song, art, and dance, and not from scientific studies.
 5   Scientific and medical protocols have been incorporated as useful and beneficial, including
 6   dietary and medication restrictions for consumption of MAO inhibiting beta carbolenes
 7
     present in Ayahuasca. Medical professionals regularly attend our ceremonies. Plaintiffs’
 8
     practices square with the published medical studies and expert medical testimony entered
 9
     into the record.” Plaintiffs have informed Defendants of all there is to know about this
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     simple topic, and there is no dispute to adjudicate.
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 1      G. Interrogatory No. 14:
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             Plaintiffs’ Response: Plaintiffs’ entire ceremonial process involves rendering physical
 9   and psychological aid, support, and assistance. Visionary communion presents some
10   congregants with challenging circumstances; however, the particulars of any individual non-
     party’s ceremonial experience are not relevant to determining the claims and defenses alleged
11   herein. Further, this interrogatory seeks non-party medical records, and any individual whose
12   records would thereby be disclosed would have standing to object to disclosure. Given the
     burdens and minimal probative value of this information, it is not discoverable.
13
14   Defendants’ Position:
15   Plaintiffs improperly supplement their response to this interrogatory via their response to a
16   later interrogatory that asks about assistance or care after a ceremony. Not only is this
17   improper, but in no interrogatory response do Plaintiffs identify the “date, time, and location”
18   of any such instance, they do not indicate whether that completely responds to “physical,
19   medical, psychological” or other types of aid, and they do not provide an answer about
20
     assistance provided prior to or during a ceremony. Plaintiffs response is incomplete and
21
     insufficient. “Schedule I substances such as DMT are exceptionally dangerous.” O Centro,
22
     546 U.S. at 432. Information about the aid, support, and assistance AYA has provided in the
23
     past is highly relevant to determine whether AYA’s individual practices pose dangers to
24
     participants’ health or safety. It is also relevant to identifying potential witnesses. Even if state
25
     privilege law did apply, see Lewis, 517 F.2d at 237 (noting that while “a federal court may
26
     consider state privilege law” in a federal question case, federal common law, not state law,
27
     governs), AYA may not assert the privacy of medical records privilege because it is not “a
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 1   health care provider” under the statute, A.R.S. § 12-2291(5).
 2   Plaintiffs’ Position:
 3   This interrogatory is redundant of Defendants’ Set 2, Interrogatory number 3, that asks in
 4   relevant part: “Identify each and every instance in which a facilitator determined that a
 5   participant requested or required “assistance or transportation after the ceremony,” or
 6   “additional care” after the ceremony.” Plaintiffs responded in full: “On one occasion in
 7
     Spring 2023, an individual with a pre‐existing health condition suffered a flare‐up, and
 8
     she was transported by paramedics to a local hospital, where she recovered from the
 9
     flare‐up. Specific medical information about her condition would of course be
10
     confidential.” Accordingly, Defendants’ Set 1, Interrogatory no. 14 has been responded
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     to as well, and there is no issue to adjudicate.
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 1      H. Interrogatory No. 17:
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              Plaintiffs’ Response: Plaintiffs state that weekend ceremonies are conducted at our
 6   ceremonial Maloka west of the city of Tucson, Arizona two to three times each month. A
 7   maloka is the name for a ceremonial round-house in South America. Our Maloka is 50 feet in
     diameter positioned with views from the altar looking westward toward Boboquivari Peak.
 8   The door to the East faces the rising sun over the Sierrita Mountains on the winter solstice.
     The entryway faces the North Star. Members of our congregation, including master carpenters,
 9   engineers, and licensed contractors drove in from around the country from as far as Alaska to
10   build our Maloka. Ceremonies range in size from 12 to 40 congregants held over alternate
     weekends over Friday, Saturday, and Sunday nights. The facilitator crew ranges from 3-8
11   people depending on the total participants for the night. Facilitators are First-Aid/CPR
12   trained. Practitioners follow a set of prescribed guidelines as set in the AYA Preparation
     Guidelines. The guidelines include: the setting of intent for each practitioner, dietary
13   restrictions for both food and media, and meditation. Particularly those with active addiction
14   issues, we ask any participants be at least 5-days clean of substance use prior to ceremony.
     Regardless of addiction, we encourage a spirit of honesty for all participants. For drug users
15   that fail to meet the guidelines, we’ll issue them a credit for a later ceremony date. Each
     participant fills out both a medical questionnaire, and a personal questionnaire focused on
16   their personal history, intentions, and reasons for attending. Each participant, new or
17   returning, is greeted at the entrance and checked off against the list of people attending services
     for the night. Prior to ceremony, the facilitator staff members make the rounds to talk with
18   people at their mats. The lead facilitator conducts an orientation talk for those new to the
19   circle, including people who are new to La Medicina and those who are visiting with us from
     other circles for the first time. That talk gives people background on our troupe. That
20   background includes our troupes training and experiences working with Ayahuasca and the
     attendant master plants of the Amazon. It also includes, a step-by-step review of what they
21
     can expect for the night. They’re informed that prior to drinking we pass a pipe around the
22   circle. The pipe is packed with Mapacho, a strong form of Peruvian tobacco. Practitioners are
     encouraged to take a few puffs without inhaling to blow the smoke over their hands, arms,
23   and then using their palms to move the smoke over their chest and head. This is a traditional
24   Amazonian entre into the hollowed inner space of the ceremonial field, as part of what’s
     recognized in Amazonian traditions for ritual protections in keeping with the intentions of the
25   ceremony. After this, we pass around a small mason jar of tobacco tea. Practitioners do not
26   drink it, but rather, they aspirate half a spoonful up each nostril with a spoon. The tobacco tea
     clears the sinuses to make it easy to breath. The suggestion in the orientation talk is that the
27   use of the tobacco tea makes an excellent reminder to return to the breath to treat the evening’s
     ceremony with the reverence of a meditation by returning regularly to the breath. After the
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     tea, people are called to the altar, beginning with the first-timers. An hour after everyone has
 1
     drunk La Medicina, we ring a singing bowl. At that point, everyone is free to come up to the
 2   altar to drink La Medicina at any point until the ceremony is completed with a closing blessing
     after morning’s first light. Over the course of the night the facilitator staff come around with
 3   palo santo incense, and water blessed at the altar for people to drink. Icaros, the songs of the
 4   Amazon, are sung over the course of the night, including centuries-old songs in Quechua, but
     also other songs inspired by La Medicina written in Spanish, English, Quechua or a blending
 5   of the three languages. These songs are intended for the healing, cleansing, and blessing of the
 6   congregation. Each with its own specific intent. Aside from more sacrament, anyone with
     questions during ceremony is encouraged to call over one of the facilitator staff to their mat
 7   or to come up to the altar to address their unique situations with prayers and blessings. These
     often involve the use of mapacho smoke or what is commonly called tobaccoito. But it might
 8
     also include hapé, a Peruvian powder blown up the nose composed of finely powdered wood-
 9   ash and mapacho. Cleanses at the altar may also include essences of flowers or master plants
     or agua de florida. The orientation talk also includes discussion of navigating La Medicina.
10   Participants are told that the navigational center of the ceremonial experience in many ways is
11   found in the feeling of surrender. Very often when people surrender in the social order they
     abdicate personal power. Inside of the ceremony experience when people allow themselves to
12   experience surrender, they often reclaim personal power. It’s explained to new attendees that
13   it’s nearly impossible to define surrender in this context, because it changes with each
     ceremony. But if surrender means anything, it simply means to allow yourself to feel. The talk
14   goes on to describe how the moods inside of the ceremonial experience can be varied. They
     can feel strange, unsettling, weird, anxiety producing, scary, laugh-out-loud funny, tearful,
15
     joyful, or tranquil, etc. In reference to navigating through surrender people are told, “But
16   whatever you’re feeling, that’s where the healing is taking place, especially if you feel like you
     don’t what to feel that way, you want to feel some other way. If you’re trying to push some
17   mood away, there’s your little flag to tell you that’s your healing that you’re feeling in that
18   moment. If you can simply allow yourself to feel it, as best you can, that mood will let go of
     its hooks and on the other side is another layer of inner silence and Divine Love and you can
19   abide in that place as long as like.” The new-person orientation talk includes a question and
20   answer period followed by a break before beginning the opening talk and the start of ceremony
     itself.
21           In the opening talk, prior to calling practitioners up to the altar, each facilitator
     introduces themselves and gives a brief talk on a range of topics that often include: love,
22
     forgiveness, surrender, gratitude, and God. A line of biblical scripture is recounted, gratitude
23   is extended to the Spirit, and a short poem is read.
24
     Defendants’ Position:
25
     Plaintiffs do not respond to this interrogatory in its entirety as they do not provide the number
26
     and title of healthcare professionals or the title of the “3-8” facilitators present at ceremonies.
27
     “Schedule I substances such as DMT are exceptionally dangerous.” O Centro, 546 U.S. at 432.
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 1   Should Plaintiffs establish a prima facie case, Defendants must make an individualized
 2   showing that “its interest in combating diversion is compelling on the facts of this case.”
 3   Christie, 825 F.3d at 1057. Information about whether healthcare professionals are present at
 4   AYA’s ceremonies is relevant to determining whether AYA’s individual practices pose dangers
 5   to participants’ health or safety. It is also relevant to identifying potential witnesses. As the O
 6   Centro quote illuminates, by seeking information specific to AYA’s practices, Defendants are not
 7
     invoking a “categorical answer” about the dangerousness of DMT, but rather are seeking
 8
     individualized information to evaluate the risks of AYA’s use of controlled substances. See
 9
     Oklevueha, 2013 WL 3243371, at *5. Defendants cannot assess whether AYA poses a risk of
10
     diversion—much less present the issue to the Court—without this information.
11
     Plaintiffs’ Position:
12
     Defendants attempt to conjure a fear of Ayahuasca by quoting O Centro, but the full
13
     reference illuminates the proper, measured, non-scaremongering approach to the issues in
14
     this case urged by the Supreme Court: “Although Schedule I substances such as DMT
15
     are exceptionally dangerous, there is no indication that Congress, in classifying DMT,
16
     considered the harms posed by the particular use at issue. That question was litigated
17
18   below. Before the District Court found that the Government had not carried its burden of

19   showing a compelling interest in preventing such harm, the court noted that it could not

20   ignore the congressional classification and findings. But Congress' determination that

21   DMT should be listed under Schedule I simply does not provide a categorical answer that
22   relieves the Government of the obligation to shoulder its RFRA burden.
23   Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 423, 126 S.
24   Ct. 1211, 1216 (2006)(emphasis added, internal cites omitted).
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 1      I. RFP No. 3:
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            Plaintiffs’ Response: Responsive documents have been produced (see link in footnote
 4   1). Some responsive documents are withheld on the grounds objected above. Plaintiffs may
     produce additional documents pursuant to an appropriate confidentiality stipulation.
 5
 6
     Defendants’ Position:
 7
     Plaintiffs have not produced a single communication despite stating that they email
 8
     participants prior to ceremonies, AYA0019, that participants may email them with any
 9
     questions, AYA0021, and that they have a “pretty active [Facebook] group,” AYA0018. The
10
     only communication Plaintiffs produced is a single redacted screenshot of an email from a
11
     participant requesting a “refund.”     AYA1055.      Plaintiffs assert below that they have
12
     “responded proportionately” to this request, but have not articulated how they determined
13
     what is a proportional response—nor is Defendants’ request limited to what Plaintiffs
14
     determine is proportional. Communications regarding ayahuasca are relevant in determining
15
16   Plaintiffs’ sincerity and in evaluating diversion concerns and health and safety risks to

17   ceremony participants. Moreover, Plaintiffs’ list of witnesses is inadequate under Rule 26, see

18   supra at 8, and this request is not limited to communications between those individuals and

19   Plaintiffs (Stanley and AYA), but rather, those individuals’ communications about ayahuasca,

20   which would include communications with participants.
21   Plaintiffs’ Position:
22   Plaintiff has responded proportionately to Defendants’ request for “all communications
23   regarding ayahuasca use with any person identified in your Initial Disclosures.” Plaintiffs’
24   Rule 26 disclosures identified as prospective witnesses Plaintiff Stanley and “[s]elect AYA
25   facilitators and congregation members whose identifying information may be disclosed
26   pursuant to protective order.” Plaintiff has now supplemented that list by disclosing another
27
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 1   seven (7) witnesses. Plaintiffs will further supplement this response by searching for
 2   communications between them and Plaintiffs and providing copies thereof.
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 1      J. RFP No. 11:
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10          Plaintiffs’ Response: Responsive documents exist, and will not be produced, based on
11   the objections asserted above.

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     Defendants’ Position:
13
     Plaintiffs refuse to produce a single responsive document to this request. Communications
14
     with ceremony participants, requesters, and facilitators are relevant in determining Plaintiffs’
15
     sincerity and in evaluating diversion concerns and health and safety risks to ceremony
16
     participants. The privileges Plaintiffs assert are not applicable: Plaintiffs may not invoke the
17
     religion clauses as a privilege to withhold such information, Cason v. Federated Life Ins., 510 F.
18
19   App’x 663, 665 (9th Cir. 2013), and even if state privilege law did apply, but see Lewis v. United

20   States, 517 F.2d 236, 237 (9th Cir. 1975) (noting that while “a federal court may consider state

21   privilege law” in a federal question case, federal common law, not state law, governs), the

22   privacy of medical records is inapplicable as it applies only to medical records maintained by

23   a “a health care provider,” which does not include AYA, see A.R.S. § 12-2291(5); and Plaintiffs
24   do not identify any “confession[s]” covered under the priest-penitent privilege, see id. § 13-
25   4062(3), and may not assert the privilege as a “blanket exclusion,” see Fabricant, 2008 WL
26   11504222, at *4. Finally, Plaintiffs’ Fourth Amendment objection, raised for the first time
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 1   here, has no bearing in civil discovery. See Lease, 2009 WL 922486, at *5; see also supra at 5.
 2   Plaintiffs’ Position:
 3   This RFP request requesting “communications with any and all individuals who have
 4   facilitated, participated in, requested to participate in, or attended one or more of your
 5   ceremonies … (further expansive requirements)” is disproportionate to the needs of the
 6   case, seeks irrelevant information, and imposes cognizable burdens under Rule 26(b)(1) by
 7
     seeking the identities of AYA members and other third parties to this litigation. Plaintiffs’
 8
     custody of emails and private communications with AYA members and other AYA
 9
     correspondents does not provide Plaintiffs with authority to consent to Defendants’ search
10
     of correspondents’ papers protected by Fourth Amendment warrant requirement.
11
     Defendants’ inquiries and demands are also constrained by the First Amendment. Surinach v.
12
     Pesquera De Busquets, 604 F.2d 73, 78 (1st Cir. 1979). Some responsive communications are
13
     also covered by the Priest-Penitent Privilege, and may not be disclosed by Plaintiffs. (ARS §
14
     12-2233.) Communications that disclose the inner workings of AYA are also not subject to
15
     disclosure via compulsory process. Surinach v. Pesquera De Busquets, 604 F.2d 73, 78 (1st Cir.
16
     1979).
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 1      K. RFP No. 12:
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            Plaintiffs’ Response: Responsive documents exist, and will not be produced, based on
 8   the objections asserted above.
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10   Defendants’ Position:

11   Plaintiffs contradict themselves in their RFP response and their asserted position below. In
12   their RFP response, Plaintiffs state that they will not produce any relevant documents, yet
13   below, Plaintiffs assert they have already produced responsive documents. Plaintiffs may not
14   amend their RFP responses in this document. Schedule I substances such as DMT are
15   “exceptionally dangerous.” O Centro, 546 U.S. at 432. Should Plaintiffs succeed in establishing
16   a prima facie case, Defendants would need to make an individualized showing that enforcing
17   the CSA against Plaintiffs is justified as the least restrictive means of furthering Defendants’
18   compelling interest. Id. The information sought in this request is both proportional and
19   critical to Defendants’ ability to evaluate diversion, safety, and health risks of AYA’s
20
     ceremonies. Nor have Plaintiffs responded “abundantly.” Plaintiffs have produced only an
21
     excel spreadsheet and PDF of 2018 survey responses, a screenshot of one email included as
22
     an exhibit to its PI, which appears to be altered, and have otherwise refused to produce
23
     documents. Apart from about 40 pages describing AYA’s ceremonies, Plaintiffs have largely
24
     re-produced documents already included in the docket in this case.
25
     Plaintiffs’ Position:
26
     Plaintiffs have responded abundantly to this response, producing all of the documents used
27
     to arrange and present ceremonies, images of its ceremonial Maloka, recordings of the sacred
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 1   songs that are sung in ceremony, and copies of its Tenets and Precepts, Ceremonial
 2   Instructions and Code of Ethics. Because it has produced many responsive documents,
 3   Plaintiffs intended to decline to produce disproportionate, irrelevant material; thus,
 4   Plaintiffs should have responded that “additional responsive documents exist, and will not
 5   be produced, based on the objections asserted above.” The Supreme Court did not observe
 6   that DMT “is exceptionally dangerous” as a justification for treating churches that use
 7
     Ayahuasca as suspected drug dealers, because in scheduling DMT, Congress took no
 8
     account of the potential religious uses of DMT-containing Ayahuasca. O Centro Espirita
 9
     Beneficente Uniao do Vegetal, 546 U.S. 418, 423, 126 S. Ct. 1211, 1216 (2006). Accordingly,
10
     Defendants have no license to proceed with unrestrained inquisitorial zeal, and must show
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     that their discovery demands are proportional to the matters at issue, and productive of
12
     relevant material. The Defendants have not done so with respect to this request.
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 1      L. RFP No. 13:
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            Plaintiffs’ Response: The requests is so extremely disproportional in its request for
 6   documents, i.e., “regarding or relating to each and every instance in which you have received
 7   anything of value,” without limitation, that identifying which documents are requested would
     be nearly impossible. Without waiver of these objections, responsive documents exist, and will
 8   not be produced, based on the objections asserted above.
 9
     Defendants’ Position:
10
     Plaintiffs refuse to provide any responsive documents to this request. Information relating to
11
     the payment, donations, etc. in exchange to participate in Plaintiffs’ ceremonies is relevant in
12
13   determining Plaintiffs’ sincerity. This information would also help shed light on the true

14   purpose of AYA by showing whether the funding and budget of AYA are consistent with a

15   religious organization as opposed to a commercial enterprise that engages in the purchase and

16   sale of ayahuasca for profit. See Oklevueha, 2013 WL 3243371, at *5 (information about
17   “financial records” is “relevant” to “genuineness of beliefs” and the “scope of the injunction”).
18   And Plaintiffs may not assert the Establishment Clause as a privilege to shield itself from
19   discovery in a civil suit brought by a religious entity. See Byzantine Cath. Eparchy of Phoenix v.
20   Burri L. PA, No. CV-20-00779-PHX-ROS, 2022 WL 3597106, at *3 (D. Ariz. June 17, 2022)
21   (Noting the “the religion clauses do not offer an immunity against civil discovery.”). Finally,
22   Plaintiffs’ Fourth Amendment objection has no bearing in civil discovery. See Lease, 2009 WL
23   922486, at *5; see supra at 5.
24   Plaintiffs’ Position:
25   Defendants’ request seeks “each [time] you have received anything of value, including
26
     payment, donations, or in-kind contributions.” For government agencies to use compulsory
27
     process to discover the finances of churches violates the Establishment Clause. See Surinach
28


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 1   v. Pesquera De Busquets, 604 F.2d 73, 78 (1st Cir. 1979) and its progeny, cited supra.
 2   Defendants argue Byzantine Cath. Eparchy of Phoenix v. Burri L. PA, No. CV-20-00779-PHX-
 3   ROS (2022) means a church that files a civil suit relinquishes its First Amendment rights, but
 4   in that case, a church tried to assert a First Amendment defense against a private law firm.
 5   When churches sell books for religious purposes, that is not mere commerce in words, and
 6   cannot be taxed as if it were. Follett v. Town of McCormick, 321 US 573, 576 (1944). Likewise,
 7
     ceremonies require funding, but the amount bears upon no issue in dispute. Plaintiffs’
 8
     custody of emails and private communications with AYA members and other AYA
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     correspondents does not provide Plaintiffs with authority to consent to Defendants’ search
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     of correspondents’ papers protected by Fourth Amendment warrant requirement.
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 1      M. RFP No. 14:
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             Plaintiffs’ Response: Plaintiffs have produced all responsive documents, to the extent
 9   of their ability to identify them, given the overbroad formulation of this request.
10
11   Defendants’ Position:

12   Plaintiffs’ response is insufficient. Plaintiffs state that the request is “overbroad,” but do not

13   state the construction they applied in answering this request and must do so according to the
14   unobjected-to RFP Instruction No. 7, so that Defendants can determine whether AYA
15   adequately responded to this request. Moreover, it is not clear what Plaintiffs mean by “to the
16   extent of their ability to find them,” and whether and what search Plaintiffs undertook to
17   identify responsive documents.
18
19   Plaintiffs’ Position:
20   Plaintiffs have fully complied with this request seeking “all documents regarding or relating
21   to ethical and safety protocols and procedures you use in connection with your ayahuasca
22   ceremonies (screening, pre-ceremonial advice, aid during and after ceremony, training for
23
     facilitators, responding to medical emergencies, etc.)” and responded by stating: “Plaintiffs
24
     have produced all responsive documents, to the extent of their ability to identify them, given
25
     the overbroad formulation of this request.” No documents known to be responsive have
26
     been withheld pursuant to the overbreadth objection. There is no dispute for the Court to
27
     adjudicate.
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 1      N. RFP No. 15:
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         Plaintiffs’ Response: Interpreting this request as non-redundant of other requests,
 5   Plaintiffs have produced all responsive documents, to the extent of their ability to identify
 6   them, given the overbroad formulation of this request.

 7
     Defendants’ Position:
 8
     Plaintiffs do not state the limiting construction applied to this request and must do so
 9
     according to the unobjected-to RFP Instruction No. 7, so that Defendants can determine
10
     whether AYA adequately responded to this request.
11
     Plaintiffs’ Position:
12
     Plaintiffs have fully complied with this request seeking “all documents provided to, shown
13
     to, or shared with participants prior to, during, and after your ceremonies,” responding that
14
     “Plaintiffs have produced all responsive documents, to the extent of their ability to identify
15
16   them, given the overbroad formulation of this request.” There is no dispute for the Court to

17   adjudicate.

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 1      O. RFP No. 16:
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         Plaintiffs’ Response: Responsive documents exist, and a reasonably proportionate sample
 6   of such, with personally identifying information redacted, will be produced to the Dropbox
 7   folder linked at footnote 1.

 8
     Defendants’ Position:
 9
     Plaintiffs acknowledge that responsive documents exist but have not produced a single
10
     responsive document to this request. Plaintiffs offered to provide “a reasonable proportionate
11
     sample” of documents. Not only have Plaintiffs not done so, but doing so does not adequately
12
     respond to Defendants’ request. Defendants request a list of documents regarding aid,
13
     support, or assistance offered to a ceremony participant to understand how AYA’s safety-
14
     protocols work in practice, not in Plaintiffs’ hand-selected instances. “Schedule I substances
15
     such as DMT are exceptionally dangerous.” O Centro, 546 U.S. at 432. Should Plaintiffs
16
17   succeed in establishing a prima facie case, Defendants would need to make an individualized

18   showing that enforcing the CSA against Plaintiffs is justified as the least restrictive means of

19   furthering Defendants’ compelling interest. Id. Information about the aid, support, and

20   assistance AYA has provided is highly relevant to determine whether AYA’s individual

21   practices pose dangers to participants’ health or safety.
22   Plaintiffs’ Position:
23   Plaintiffs responded that “Responsive documents exist, and a reasonably proportionate
24   sample of such, with personally identifying information redacted, will be produced to the
25   Dropbox folder linked at footnote 1.” Plaintiffs have not yet prepared that document
26   sampling, but will do so, and send a hyperlink to the document(s) when uploaded.
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 1      P. RFP No. 17:
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             Plaintiffs’ Response: Documents responsive to the request for “improper conduct”
 8   exist in the form of a list of individuals who are disqualified from AYA membership; however,
     it should be noted that some individuals may be excluded from future ceremonies for engaging
 9
     conduct that is simply inconsistent with the AYA ceremonial process, and need not be
10   unlawful or offensive. An anonymized copy of the list will be produced to the Dropbox folder
     linked at footnote 1.
11
12   Defendants’ Position:
13   Plaintiffs identify one responsive document to this request that Plaintiffs have still not
14
     produced.    Information regarding misconduct is relevant to determine whether AYA’s
15
     individual practices pose dangers to participants’ health or safety and to the sincerity inquiry.
16
     Nor is it sufficient to produce this information in an anonymized form now that the protective
17
     order is in place. The names of any persons on this list is highly relevant to identifying
18
     potential witnesses and assessing whether AYA’s practices pose a danger to participants health
19
     or safety. Moreover, it seems unlikely that there is only a single responsive document to this
20
     request, as there are likely to be exchanges in writing relating to these instances. Finally,
21
     Plaintiffs, for the first time, raise a Fourth Amendment objection that has no bearing in civil
22
     discovery—particularly where Defendants seek records as part of the normal course of
23
     discovery (not as part of a search and seizure under the Fourth Amendment) in a civil lawsuit
24
25   initiated by Plaintiffs. See Lease, 2009 WL 922486, at *5 (“Fourth Amendment is not implicated

26   in [] case” involving civil discovery and overruling that objection); see also supra at 5.

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 1   Plaintiffs’ Position:
 2   Plaintiffs responded to this RFP, seeking records of incidents of criminal or ethical
 3   misconduct by a ceremonial attendee, by identifying one responsive document: “a list of
 4   individuals who are disqualified from membership in AYA,” with the caveat that “some
 5   individuals may be excluded from future ceremonies for … conduct that is simply
 6   inconsistent with the AYA ceremonial process, and need not be unlawful or offensive.”
 7
     Plaintiff will produce an anonymized copy of this document, which will not reduce the
 8
     quantum of relevant information produced, because the names of the persons are not
 9
     relevant to any claim or defense at issue in this case. Plaintiffs’ custody of emails and private
10
     communications with AYA members and other AYA correspondents does not provide
11
     Plaintiffs with authority to consent to Defendants’ search of correspondents’ papers
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     protected by Fourth Amendment warrant requirement.
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 1      Q. RFP No. 23:
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           Plaintiffs’ Response: Responsive documents exist, and have been produced previously.
 4   No additional documents exist to produce.
 5
 6   Defendants’ Position:

 7   Plaintiffs’ response indicates that Plaintiffs have misconstrued this request. RFP No. 23 is not
 8   redundant of RFP No. 15. RFP No. 15 seeks documents that are shown prior to, during, or
 9   after ceremonies; RFP No. 23 relates to materials used in the training of ceremony participants.
10   If no such documents exists, Plaintiffs’ response must clarify as much. If they do exist, they
11   must be produced.
12   Plaintiffs’ Position:
13   This request, seeking “all documents that identify, describe, refer to, or contain materials
14   used in the training of ceremony participants,” is redundant of RFP 15; accordingly,
15   Plaintiffs’ response is “No additional documents exist to produce.” There is no dispute to
16   adjudicate.
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     Issue 3: Information regarding ayahuasca ceremonies generally, including how the
 1
     controlled substance is sourced, handled, accessed, and stored (Rog Nos. 10-12; RFP
 2   Nos. 18, 20).
 3   Defendants’ Position:
 4   These requests seek information about how AYA sources, secures, stores, handles, and
 5   prepares ayahuasca from importation to ultimate distribution to participants. These requests
 6   also seek basic information about the dates, number, locations of, and participants and leaders
 7   present at ceremonies. This information is relevant to Defendants’ “compelling interest in
 8   preventing drugs set aside for sacramental use from being diverted to non-religious,
 9   recreational users.” Christie, 825 F.3d at 1057. And it is relevant to concretely understanding
10   the risk of diversion posed by AYA’s handling of ayahuasca, including by identifying security
11
     measures and locations at which AYA handles, transports, and stores ayahuasca, and those
12
     who have authorized access. It is also essential to determining the scope of AYA’s activities,
13
     the type(s) of DEA registration(s) that AYA would require, the locations requiring DEA
14
     registration, and the nature and extent of possible regulatory oversight that would be necessary
15
     to ensure AYA’s compliance with the CSA and its regulations, should AYA receive a DEA
16
     registration. Additionally, information about the source of, and the persons who handle and
17
     brew AYA’s ayahuasca is relevant to assessing safety or health risks posed by AYA’s activities.
18
     Plaintiffs’ Position:
19
     The manner in which AYA obtains is Ayahuasca is not relevant to the matters before the
20
     Court in this action, which is concerned with: (1) determining whether Plaintiffs have a
21
22   religious motivation in requesting an exemption under RFRA from the Controlled

23   Substances Act (“CSA”) to import and distribute Ayahuasca to AYA’s congregation; (2)

24   determining whether the Defendants’ application of the CSA to the Plaintiffs substantially

25   burdens the Plaintiffs’ free exercise practice of offering Ayahuasca ceremonies; and, (3)
26   determining whether the DEA and other Defendants are offering the Plaintiffs the least
27   restrictive means of applying the Controlled Substances Act that is appropriate for AYA and
28   Plaintiff Stanley. Being required to tell the DEA how AYA obtains its Ayahuasca would


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 1   turn this proceeding into an opportunity for the DEA to burden AYA’s free exercise by
 2   identifying and intercepting the Ayahuasca it needs to engage in free exercise. While the
 3   Santo Daime and UDV have been required to disclose their sources, storage locations,
 4   courier identities, and security provisions to the DEA, they did so only after receiving
 5   injunctive relief from DEA enforcement activity. AYA requests to do the same.
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 1      A. Interrogatory No. 10:
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             Plaintiffs’ Response: Plaintiffs state that plaintiff Stanley’s declarations in support of
 9   AYA’s motions for preliminary injunction have provided sufficient information concerning
10   this topic that any additional information would be duplicative, redundant and unnecessarily
     burdensome, particularly given that there is no factual dispute over the matter. Efforts to elicit
11   information regarding relations with non-parties are merely harassing. To require a response
     would impose a very large burden on Plaintiffs due to a number of causes, and would generate
12
     no corresponding benefit to the fact-finding process.
13           During the time period before the establishment of the AYA Maloka in Pima County,
     Arizona, AYA offered ceremonies approximately every two weeks in various locations in
14   Arizona and in other states. Since the establishment of the Maloka, AYA offers ceremonies
15   every two weeks. Stanley and other facilitators use Amazonia tobacco, known as mapacho.
     Other Amazonian herbs are used as part of an Amazonia “dieta” -- see welcoming documents
16   for ceremonial preparation commenting on use of pau de arco tea in conjunction with a
17   cleansing pre-ceremony diet, etc.

18
     Defendants’ Position:
19
     Plaintiffs’ interrogatory response is wholly insufficient and does not provide information for
20
     even a single ceremony. All DEA registrants must keep detailed records, see, e.g., 21 C.F.R.
21
     § 1304, which Plaintiffs either do not maintain or refuse to disclose. Plaintiffs acknowledge
22
     that ceremonies are held “in other states,” but do not identify any of these locations.
23
     Information regarding where ceremonies are held and where the controlled substance is
24
     transported from and to such ceremonies, along with other relevant contextual information
25
     regarding AYA’s provision of controlled substances is highly relevant in determining diversion
26
27   risks. “Schedule I substances such as DMT are exceptionally dangerous.” O Centro, 546 U.S.

28   at 432. Should Plaintiffs establish a prima facie case, Defendants must make an individualized


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 1   showing that “its interest in combating diversion is compelling on the facts of this case.”
 2   Christie, 825 F.3d at 1057. Information sought in this request is relevant to the individualized
 3   inquiry required under RFRA of evaluating the risks of AYA’s use of controlled substances.
 4   See Oklevueha, 2013 WL 3243371, at *5. Defendants cannot even assess whether AYA poses
 5   a risk of diversion—much less present the issue to the Court—without this information.
 6   Plaintiffs’ Position:
 7
     This interrogatory seeks the “location of each and every instance in which you held a
 8
     ceremony, including those in which ayahuasca is brewed, distributed, consumed,
 9
     destroyed/disposed of, or otherwise present.” The location of a church or religious
10
     corporation is one thing that never seems to be discussed in RFRA cases. Nevertheless,
11
     Plaintiffs have explained in their response to Interrogatory 17 where ceremonies are
12
     conducted and Ayahuasca is served: “Our Maloka is 50 feet in diameter positioned with
13
     views from the altar looking westward toward Boboquivari Peak. The door to the East faces
14
     the rising sun over the Sierrita Mountains on the winter solstice. The entryway faces the
15
     North Star.” This “siting” of the ceremonial location with attention to the local landmarks
16
     and cardinal directions is a significant religious fact, indicative of the religious motivation
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18   behind its construction and ceremonial use. Plaintiff has also directed Defendants to

19   documents already produced, recording AYA’s out of state activities before the Maloka was

20   built and become the primary location for AYA ceremonies.

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 1      B. Interrogatory No. 11:
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             Plaintiffs’ Response: Plaintiffs state that plaintiff Stanley’s declarations in support of
 9   AYA’s motions for preliminary injunction have provided sufficient information concerning
     this topic that any additional information would be duplicative, redundant and unnecessarily
10
     burdensome, particularly given that there is no factual dispute over the matter. Efforts to elicit
11   information regarding relations with non-parties are merely harassing. To require a response
     would impose a very large burden on Plaintiffs due to a number of causes, and would generate
12   no corresponding benefit to the fact-finding process.
13           Plaintiffs adhere to a protocol of sourcing Ayahuasca from ethical providers in Peru.
     AYA’s ceremonial Ayahuasca is acquired by Stanley, stored on premises under his exclusive
14   control, and utilized exclusively in AYA ceremonies conducted at the Pima County Maloka or
15   another officially declared AYA ceremonial location.

16
     Defendants’ Position:
17
     Despite the individualized inquiry of RFRA, Plaintiffs again refuse to provide sufficient
18
     information regarding the sourcing, storage, and handling of their ayahuasca. “Schedule I
19
     substances such as DMT are exceptionally dangerous.” O Centro, 546 U.S. at 432. Their
20
     position below focuses narrowly on their prima facie case of alleged religious intent, presumes
21
     without any factual support that diversion is “unlikely,” and ignores that Defendants must
22
     make an individualized showing that “its interest in combating diversion is compelling on the
23
     facts of this case.” Christie, 825 F.3d at 1057. Information about the sourcing, storage,
24
25   transportation, and security of Plaintiffs’ ayahuasca is essential to Defendants’ ability to

26   evaluate the potential diversion and safety risks posed by AYA’s practices and thus to assert

27   and ultimately prove a compelling interest. Defendants cannot assess whether AYA poses a

28   risk of diversion—much less present the issue to the Court—without this information.


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 1   Finally, Plaintiffs cannot seek injunctive relief in the form of a DEA registration, Fifth Am.
 2   Compl. ¶¶ 88, 97, and simultaneously refuse to turn over records (to the extent they exist) that
 3   would be required should such relief be granted, see, e.g., 21 C.F.R. § 1304.
 4   Plaintiffs’ Position: This interrogatory seeks to compel disclosure of detailed inventory of
 5   what the Defendants allege to be criminal activity. This type of information would not be
 6   relevant to the issue of religious intent, because the question is not whether, where, or from
 7
     whom AYA and Stanley obtain Ayahuasca, but whether they do so from a religious motive.
 8
     That Ayahuasca dispensing records are required for those with DEA registration does not
 9
     compel a church to keep records before receiving a RFRA exemption, nor does it indicate
10
     diversion risk, because it’s their belief that Ayahuasca is holy that makes diversion unlikely.
11
     “Plaintiffs' secrecy does not show a lack of sincerity. Instead, it shows that plaintiffs
12
     remained committed to practicing their religion despite the threat of criminal
13
     prosecution and loss of professional status. *** Because plaintiffs believe that Daime
14
     tea is a sacrament, use of Daime tea outside of the church violates church doctrine.”
15
     Church of the Holy Light of the Queen v. Mukasey, 615 F. Supp. 2d 1210, 1219 (D. Or.
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     2009)(emphasis added).
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 1      C. Interrogatory No. 12:
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             Plaintiffs’ Response: Plaintiffs state that the sole person having custody of AYA
 9   ceremonial Ayahuasca prior to or after ceremony is plaintiff Stanley, and he secures it in the
     same manner as he cares for all other important possessions – either locked in a vehicle, locked
10
     in a temporary storage facility, or inside premises under his control. Plaintiffs’ sacrament is
11   kept in a secure location, travels with the lead facilitator, is never sold, is used only in a
     ceremonial context, and leaves the ceremonial site at the close of each ceremony to return to
12   its secure location with the lead facilitator. No sacrament has ever been stolen or has been left
13   in the position to be stolen with the exception of sacrament seized by US Customs.

14
     Defendants’ Position:
15
     Plaintiffs’ partial response to this request is insufficient. For example, Plaintiffs do not identify
16
     when any security measures were implemented or the devices Plaintiffs use to “lock” their
17
     ayahuasca. Nor do they reasonably describe how their purported measures ensure safe
18
     handling of ayahuasca. Put differently, Plaintiffs cannot invoke the word “secure” to satisfy
19
     the specific nature of this request without providing any details. “Schedule I substances such
20
21   as DMT are exceptionally dangerous.” O Centro, 546 U.S. at 432. Defendants are entitled to

22   make an individualized showing that “its interest in combating diversion is compelling on the

23   facts of this case.” Christie, 825 F.3d at 1057. Specific information regarding the storage and

24   security of Plaintiffs’ ayahuasca is essential to evaluating diversion and safety risks posed by
25   AYA’s practices. Defendants cannot even assess whether AYA poses a risk of diversion—
26   much less present the issue to the Court—without this information.
27   Plaintiffs’ Position:
28   Plaintiff fully responded to information about Plaintiffs’ security measures for handling


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 1   Ayahuasca: “Without waiver of objections, Plaintiffs state that the sole person having custody
 2   of AYA ceremonial Ayahuasca prior to or after ceremony is plaintiff Stanley, and he secures
 3   it in the same manner as he cares for all other important possessions – either locked in a
 4   vehicle, locked in a temporary storage facility, or inside premises under his control. Plaintiffs’
 5   sacrament is kept in a secure location, travels with the lead facilitator, is never sold, is used
 6   only in a ceremonial context, and leaves the ceremonial site at the close of each ceremony to
 7   return to its secure location with the lead facilitator. No sacrament has ever been stolen or
 8   has been left in the position to be stolen with the exception of sacrament seized by US
 9   Customs.” The interrogatory has been answered.
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 1      D. RFP No. 18:
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            Plaintiffs’ Response: No responsive documents exist.
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10   Defendants’ Position:
11   Plaintiffs assert that “no responsive documents exist,” yet the request itself identifies Plaintiffs’
12   “Ceremonial Instructions,” Dkt. 33-4, a responsive document that discusses the “dispensing”
13   and “serving” size of ayahuasca at AYA’s ceremonies. Based on that document alone, it is
14   highly improbable that no other responsive documents—whether in the form of emails, text
15   messages, Facebook messages, or invoices, etc.—exist.             Nor have Plaintiffs given any
16   indication as to whether they even attempted to search for potentially responsive documents
17
     in response to this request. More broadly, Plaintiffs have an obligation to conduct a reasonable
18
     search of all communications that may be responsive Defendants’ discovery requests, and
19
     Defendants remain concerned that Plaintiffs have not satisfied their discovery obligations
20
     here—particularly when they have separately asserted that responsive documents exist as it
21
     relates to a similar and somewhat overlapping request, RFP No. 20, below. This is concerning
22
     given the relief Plaintiffs seek—a DEA registration, Fifth Am. Compl. ¶¶ 88, 97, as all DEA
23
     registrants must keep detailed records of this sort, 21 C.F.R. § 1304 (detailing the “[i]nventory
24
     and other records and reports required” to be kept and maintained by “[e]very registrant”).
25
     Plaintiffs’ Position:
26
     This request seeks “all documents regarding or relating to the storage, preparation, security,
27
28   distribution, dispensing, obtaining, importing, exporting, destroying/disposing, or otherwise


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 1   handling of ayahuasca, including, but not limited to, security measures, (etc.),” to which
 2   Plaintiffs responded, “No responsive documents exist.” The RFP has received an adequate
 3   response.
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 2      E. RFP No. 20:
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            Plaintiffs’ Response: Responsive documents exist, and will be withheld based upon the
 7   stated objections.
 8
 9   Defendants’ Position:

10   Plaintiffs refuse to produce a single responsive communication—whether in the form of

11   emails, text messages, Facebook messages, etc.—despite conceding that such communications
12   exist. Instead, Plaintiffs raise, for the first time, a Fourth Amendment objection that has been
13   waived and otherwise has no bearing in civil discovery—particularly where Defendants seek
14   records as part of the normal course of discovery (not as part of a search and seizure under
15   the Fourth Amendment) in a civil lawsuit initiated by Plaintiffs. See Lease, 2009 WL 922486,
16   at *5; see also supra at 5. Similarly, for the reasons set forth below, see infra Issue 5.C, the First
17   Amendment “do[es] not offer an immunity against civil discovery,” Byzantine, 2022 WL
18   3597106, at *3. Finally, Plaintiffs cannot plausibly contend that Defendants’ discovery
19   request—in the context of a lawsuit brought by Plaintiffs—creates a substantial burden under
20   RFRA, because communications relating to Plaintiffs’ storage, preparation, security,
21
     distribution, etc. of ayahuasca are essential to evaluating diversion and safety risks posed by
22
     AYA’s practices and thus critical to Defendants’ ability to establish their compelling interest
23
     in combatting diversion as applied to the facts in this case. See Christie, 825 F.3d at 1057.
24
     Plaintiffs’ Position:
25
     To this request for “all communications to or from any and all individuals who have
26
     been involved in the storage, preparation, security, distribution, dispensing, obtaining,
27
     importing, exporting, destroying/disposing, transporting, transferring to another person,
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 1   or otherwise handling of ayahuasca,” Plaintiffs respond that their custody of emails and
 2   private communications with AYA members and other AYA correspondents does not
 3   provide Plaintiffs with authority to consent to Defendants’ search of correspondents’ papers
 4   protected by Fourth Amendment warrant requirement. Defendants’ inquiries and demands
 5   are also constrained by the First Amendment. Surinach v. Pesquera De Busquets, 604 F.2d 73,
 6   78 (1st Cir. 1979). Further, it is the not the purpose of the RFRA action to provide a
 7
     vehicle for the Defendants to impose substantial burdens on Plaintiffs by seeking to
 8
     compel their disclosure of the identities of congregants and non-parties. Finally, knowing
 9
     the identities of the persons who have aided AYA in its religious mission will not aid the
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     Defendant to establish any fact in issue in this matter.
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     Issue 4: Information regarding the sincerity of AYA’s beliefs and practices, and those
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     who wrote edited, or advised on core documents (Rog Nos. 18, 21, 23; RFP Nos. 4-8,
 2   10).
 3   Defendants’ Position:
 4   Defendants seek information about the sincerity of Plaintiffs’ religious beliefs and practices
 5   and about their core documents. Under RFRA, Plaintiffs must show that their religious beliefs
 6   are “sincerely held,” and not a sham or pretense. United States v. Zimmerman, 514 F.3d 851, 853
 7   (9th Cir. 2007). A “Court ‘can, and must, ensure that a plaintiff’s beliefs are religious, as opposed
 8   to being ‘essentially political, sociological, or philosophical.’” Caspersen v. W. Union, LLC, 2023
 9   WL 6602123, at *5 (D. Colo. Oct. 10, 2023) (citation omitted). Defendants have a compelling
10   interest in “reducing the incidence of illicit, recreational” use of ayahuasca, including by
11
     preventing its diversion to “people whose use is disconnected from any sincere religious
12
     practice.” Christie, 825 F.3d at 1057. Both the genuineness of the Plaintiffs’ beliefs and the
13
     nature and character of those beliefs is at issue. Defendants seek relevant information about
14
     AYA’s payment structure, the responses to the questionnaire AYA relies on in establishing
15
     the sincerity of its participants, the attendee roster, communications between AYA and
16
     participants, and other information about participants. See Oklevueha, 2013 WL 3243371, at
17
     *5.
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     Plaintiffs’ Position:
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 1      A. Interrogatory No. 18:
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            Plaintiffs’ Response: Plaintiffs state, As Director of AYA, Scott Stanley is the author
 7   of AYA Tenets and Precepts, and our Code of Ethics. That said, their formation was a
 8   collaborative affair born out shared experience within our community. As the author of both
     AYA’s Tenets and Precepts, and our Code of Ethics, I’m formulating this response myself. I
 9   consider these guiding principles for myself. My opinion, is that they’re well received and
10   practiced from the heart within our community, but mainly because these two documents were
     formulated out of a shared experience. Everyone played a role. I wrote them down. As to
11   instructions offered to practitioners in preparation for ceremony, they remain a work in
     progress with many of the hands of the congregation involved, all of whom, in this respect,
12
     wish to remain anonymous. I am the lead editor for that document.
13
14   Defendants’ Position:
15   Plaintiffs’ response is incomplete and answers only part of the interrogatory. Plaintiffs’ state
16   that Stanley authored and is the “lead editor” for only two of the five documents asked about,
17   but does identify the others who “edited, reviewed, commented on, or received” these
18   documents nor addresses the other documents discussed (the questionnaire, ceremonial
19   instructions, and confirmation letter).      Plaintiffs relied on these documents in seeking
20   emergency relief on their still-live RFRA claim, Dkt. 33: “AYA Tenets and Precepts”, 33-3;
21   “Ceremonial Instructions,” 33-4; “Code of Ethics,” 33-5; a ceremony participant questionnaire
22   and “summary,” 33-6 and 33-8, and the ceremony participant confirmation letter, 33-7.
23
     Defendants seek to understand the origin, motivation, and any changes to the documents
24
     Plaintiffs continue to rely on to establish their prima facie case, including the sincerity of their
25
     religious beliefs. This information is relevant to probing the sincerity of AYA’s religious
26
     beliefs and identifying potential witnesses, generally, and specifically which individuals, beyond
27
     Stanley were involved in creating these documents. See Oklevueha, 2013 WL 3243371, at *5.
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 1   Plaintiffs’ Position:
 2   Plaintiff Stanley responded to this interrogatory, asking to know who everyone who helped
 3   write AYA Tents and Precepts, Ceremonial Instructions, Code of Ethics, and the
 4   questionnaire, as follows: “Scott Stanley is the author of AYA Tenets and Precepts, and our
 5   Code of Ethics. That said, their formation was a collaborative affair born out shared
 6   experience within our community. *** I am the lead editor for that document.” This is
 7
     sufficient. Defendants say they “seek to understand the origin, motivation, and any changes
 8
     to the documents Plaintiffs continue to rely on to establish sincerity,” but they expand their
 9
     role here beyond reason. Defendants have no inherent authority to scrutinize AYA
10
     doctrines for evidence of insincerity that is entirely lacking in this case, unlike the situation in
11
     Coronel v. Paul, supra. “Given that Pasqua Yaqui and native Hawaiian religions differ at least
12
     in some respects from Dianic paganism, it is not unreasonable for the Defendants to
13
     question Coronel's motives.” Coronel v. Paul, 316 F. Supp. 2d 868, 881-82 (D. Ariz. 2004).
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 1      B. Interrogatory No. 21:
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         Plaintiffs’ Response: Stanley wrote all of the documents that he and AYA will present as
 6   evidence of sincerely held religious beliefs and practices.
 7
 8   Defendants’ Position:

 9   AYA’s response is incomplete and answers only part of the interrogatory about who “wrote”

10   the referenced documents.       AYA does not identify the others who “edited, reviewed,

11   commented on, or otherwise received,” these documents. It is also not responsive to the

12   portion of the interrogatory asking about “the documents used at your ceremony or trainings,”
13   regardless of whether Plaintiffs intend to rely on such documents. Defendants seek to
14   understand the origin, motivation, and any changes to the documents Plaintiffs will rely on to
15   establish sincerity. This information is also relevant to probing the sincerity of AYA’s religious
16   beliefs and identifying potential witnesses generally, and specifically who were involved in
17   creating, editing, and reviewing these core documents. It is Defendants prerogative to choose
18   which witnesses the defense will seek to depose and question about AYA’s practices. And
19   understanding who—beyond Stanley—is involved in AYA, is highly relevant to this case.
20   Plaintiffs’ Position:
21
     Plaintiffs adequately answered this interrogatory seeking the author of all documents “used
22
     at your ceremonies or trainings, or that you otherwise intend to rely upon to demonstrate the
23
     existence of what you allege are your “sincerely held religious beliefs and practices,” with the
24
     response, “Stanley wrote all of the documents that he and AYA will present as evidence of
25
     sincerely held religious beliefs and practices.” This should be sufficient to prepare the
26
     Defendants to respond to these contentions by addressing questions to Plaintiff Stanley in
27
     deposition and at trial. Their efforts to identify people whose names were never recorded,
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 1   and whose contributions were not formally noted, will not produce relevant evidence.
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 1      C. Interrogatory No. 23:
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         Plaintiffs’ Response: AYA has been a member of the North American Association of
 9   Visionary Churches since it was formed in June of 2019, and pays yearly organizational dues
10   of $200.

11
     Defendants’ Position:
12
     AYA’s response is incomplete and answers only part of the interrogatory. It does not provide
13
     a response to (1) each and every organization of which a named Plaintiff Stanley is a member,
14
     or has requested to be a member, and information about that membership; (2) any
15
     organizations that Plaintiffs requested to be in but did not ultimately join or were not permitted
16
     to join; (3) any individuals at identified organizations with whom AYA or Stanley
17
     communicates or has communicated. The information sought by this interrogatory is relevant
18
     to whether Plaintiffs’ beliefs are genuine and religious in nature, whether other affiliations bear
19
20   on the risk of diversion presented by AYA’s use and distribution of ayahuasca, and also in

21   identifying potential witnesses. To that end, this information is key to Defendants’ potential

22   third-party discovery efforts, which Plaintiffs have stymied. This lack of responsiveness would

23   prevent Defendants from being able to obtain answers before the substantial completion of
24   written discovery deadline.
25   Plaintiffs’ Position:
26   Attempting to grind additional information from this interrogatory will shed no light on
27   “whether Plaintiffs’ beliefs are genuine and religious in nature,” and Defendants do not
28   attempt to explain how it will. In response to this interrogatory, that seeks the name of

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 1   “every organization or association of which AYA or one of the named Plaintiffs is a
 2   member,” when Plaintiff(s) joined, and what dues were paid, plaintiff disclosed that “AYA
 3   has been a member of the North American Association of Visionary Churches since it was
 4   formed in June of 2019, and pays yearly organizational dues of $200.” The interrogatory has
 5   been answered.
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 1      D. RFP No. 4:
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 5       Plaintiffs’ Response: Plaintiffs produced responsive documents that are accessible for
     download via shared Dropbox folder. (See link in footnote 1.) Plaintiffs have supplemented
 6   that production at [link].
 7
 8   Defendants’ Position:

 9   Plaintiffs have not produced any documents in a “revised” format, only final-form documents.

10   Plaintiffs also do not indicate whether they have or intend to produce documents “used” at
11   ceremonies.
12   Plaintiffs’ Position:
13   Plaintiffs have produced many documents they intend to rely upon to demonstrate sincere
14   religious belief, and will produce more in a timely fashion, supplementing production if and
15   when new documents are discovered. There is no dispute over this RFP.
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 1      E. RFP No. 5:
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            Plaintiffs’ Response: Reasonably construed, the interrogatory seeks information found
 5   in responsive documents that have been produced (see link in footnote 1). Plaintiffs have
     supplemented that production at [link].
 6
 7   Defendants’ Position:
 8   Plaintiffs do not state how they “reasonably construed” this interrogatory and must do so
 9   according to the unobjected-to RFP Instruction No. 7, so that Defendants can determine
10   whether their response is adequate. This request seeks documents relating to how and whether
11   AYA screens applicants to ensure that only “sincere religious persons with a reverent mindset”
12   may participate in ceremonies, or conversely, whether individuals can join AYA under false or
13   insincere pretenses to obtain access to ayahuasca. This information is relevant to “the
14   genuineness of Plaintiffs’ religious beliefs,” see Oklevueha, 2013 WL 3243371, at *5, and the
15   government’s compelling interest in “reducing the incidence of illicit, recreational” use of
16   ayahuasca, by preventing its diversion to “people whose use is disconnected from any sincere
17   religious practice,” Christie, 825 F.3d at 1057. A “Court ‘can, and must, ensure that a plaintiff’s
18   beliefs are religious, as opposed to being ‘essentially political, sociological, or philosophical.’”
19   Caspersen, 2023 WL 6602123, at *5. Plaintiffs improper attempt to supplement their response
20   below by stating that Stanley makes decisions and that Plaintiffs have not withheld responsive
21   documents further demonstrates that Plaintiffs’ response is incomplete and insufficient.
22
     Plaintiffs’ Position:
23
     Plaintiffs are unsure of what is meant by “the process by which you ensure that you ‘offer
24
     Visionary communion only to sincere religious persons.” The courts have found “judging
25
     religious sincerity” to be a difficult if not impossible task, and the role of Plaintiffs is to
26
     facilitate the relationship with the Divine, not to gatekeep it. That said, AYA adheres to best
27
     practices for the administration of ceremonial Ayahuasca, which require considering the
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 1   physical and mental disposition of applicants and making occasional judgments as to who
 2   may not attend an AYA ceremony. Plaintiff Stanley makes those decisions based on his
 3   traditional understanding of the way of Ayahuasca ceremony, and to the extent responsive
 4   documents exist regarding that activity, they have already been produced. Plaintiffs have not
 5   withheld any responsive documents known to them based on any objection. There is no
 6   dispute with respect to this RFP.
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 1      F. RFP No. 6:
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            Plaintiffs’ Response: Plaintiffs decline to produce responsive documents based on the
 7   stated objections.
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 9   Defendants’ Position:

10   AYA’s response indicates that it declined to produce documents, but AYA states below it has

11   provided responsive documents—presumably the final forms of the documents referenced

12   above—further demonstrating that Plaintiffs’ response is incomplete and insufficient. This
13   request also seeks drafts and all documents “relating to or referred to” in the referenced
14   documents. AYA has not provided any drafts, and it does not appear, for example, that AYA
15   has provided all documents referred to in the Ceremonial Instructions. Defendants seek to
16   understand the origin, motivation, and changes to these documents by requesting drafts and
17   documents relating to or referring to core documents Plaintiffs use to establish sincerity. This
18   information is relevant to probing the sincerity of AYA’s religious beliefs, practices, and core
19   documents.
20   Plaintiffs’ Position:
21
     Plaintiffs have provided a proportional response to this RFP, providing the responsive
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     documents identified as AYA Tenets and Precepts, Ceremonial Instructions, and the Code
23
     of Ethics. There is no dispute over this RFP.
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 1      G. RFP No. 7:
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 3
 4
            Plaintiffs’ Response: Responsive documents have been produced (see link in footnote
 5   1). Some responsive documents are withheld on the grounds objected above. Plaintiffs may
 6   produce additional documents pursuant to an appropriate confidentiality stipulation.

 7
     Defendants’ Position:
 8
     This request seeks documents that bear on core questions, including communications with
 9
     members about the specific topics of membership, ceremonies, and AYA’s professed tenants
10
     and beliefs. These documents are relevant to “the genuineness of Plaintiffs’ religious beliefs,”
11
     see Oklevueha, 2013 WL 3243371, at *5, and the government’s compelling interest in “reducing
12
     the incidence of illicit, recreational” use of ayahuasca, by preventing its diversion to “people
13
     whose use is disconnected from any sincere religious practice,” Christie, 825 F.3d at 1057.
14
15   These communications are relevant to understanding how AYA’s screening of individuals

16   works in practice, and whether members are being substantially burdened. And Plaintiffs

17   asserted in litigation that if certain medical conditions are disclosed to AYA, “further inquiries

18   are made.” Dkt. 33 at 4. Plaintiffs concede that such communications exist and contain

19   relevant information but have not produced them. Plaintiffs have it backwards: Defendants
20   do not have a burden to “articulate[]” an occurrence of AYA’s diversion; rather, Defendants
21   seek such documents to determine whether such risk exists. Finally, Plaintiffs’ constitutional
22   objections have no bearing in civil discovery. See also supra at 5, infra Issue 5.
23   Plaintiffs’ Position:
24   This interrogatory, without time limits, seeks “all documents” including “emails, text
25   messages or facebook messages” with “any and all individuals who are members of AYA”
26   about everything AYA does. Accordingly, it is grossly disproportionate to the needs of the
27   case, and not directed to discovery of admissible evidence. Although being able to read all
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 1   of AYA’s correspondence could conceivably produce some relevant information, the burden
 2   would be disproportionate to the resulting benefit, especially given that Defendants have
 3   articulated not one occasion when Plaintiffs have encouraged or engaged in “illicit,
 4   recreational” use of Ayahuasca or diversion into illegal markets. Plaintiffs’ custody of emails
 5   and private communications with AYA members and other AYA correspondents does not
 6   provide Plaintiffs with authority to consent to Defendants’ search of correspondents’ papers
 7
     protected by Fourth Amendment warrant requirement. AYA further asserts its First
 8
     Amendment Entanglement Clause objection to compelled disclosure of a religious group’s
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     internal activities and finances. Surinach v. Pesquera De Busquets, 604 F.2d 73, 78 (1st Cir.1979).
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 1      H. RFP No. 8:
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            Plaintiffs’ Response: A responsive document exists, and Plaintiffs decline to produce
 3   the same, based on the above objections.
 4
 5   Defendants’ Position:

 6   Information concerning the “membership” of AYA is “reasonably calculated to lead to
 7   discovery of admissible evidence concerning the genuineness of Plaintiffs’ religious beliefs.”
 8   Oklevueha, 2013 WL 3243371, at *5. This information is relevant to probing whether members
 9   activities are genuine or whether individuals are joining AYA under false pretenses to obtain
10   access to a controlled substance. The attendee roster could show, among other things, how
11   frequently participants attend ceremonies, including whether individuals attend only once,
12   which could be indicative of individuals recreationally using ayahuasca that is “disconnected
13   from any sincere religious practice.” Christie, 825 F.3d at 1057; see also Oklevueha, 719 F. Supp.
14   2d at 1225 (noting that RFRA likely would not permit distributing marijuana to “anyone who,
15
     without more, simply claims a religious need”). This roster is also relevant for identifying
16
     potential witnesses. AYA’s objections and invocation of inapplicable constitutional objections
17
     are inapplicable and have no bearing on civil discovery, see infra Issue 5. This request is not
18
     overbroad because Plaintiffs admit that there is a “single” list. An “attendee roster” that is
19
     kept by AYA is not a “communication” protected by the priest-penitent privilege.
20
     Plaintiffs’ Position:
21
     This RFP, demanding the “AYA attendee roster” is properly subject to objection as
22
     irrelevant to the determination of any claim or defense, overbroad and disproportionate to
23
     the needs of the case, violative of the privacy rights of non-litigants, invading the priest-
24
     penitent privilege, encroaching on promises of confidentiality AYA has made to third
25
     parties, invading the priest-penitent privilege (ARS § 12-2233). Plaintiffs’ custody of emails
26
27   and private communications with AYA members and other AYA correspondents does not

28   provide Plaintiffs with authority to consent to Defendants’ search of correspondents’ papers


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 1   protected by Fourth Amendment warrant requirement. Defendants’ inquiries and demands
 2   are also constrained by the First Amendment.       Finally, the demand imposes a severe
 3   burden on the relationship of AYA and Plaintiff Stanley with the AYA congregation,
 4   attempting to convert their religious participation into an avenue of negative scrutiny of the
 5   sort that this litigation is intended to remedy. Accordingly, although a responsive document
 6   exists, Plaintiffs decline to produce the same, based on the above objections.
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 1      I. RFP No. 10:
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            Plaintiffs’ Response: Drafts of the survey do not exist. The email, with the email
 5   addresses of recipients redacted, will be produced in the Dropbox folder for which the link is
 6   provided at footnote 1.

 7
     Defendants’ Position:
 8
     Plaintiffs have not yet produced the email that delivered the survey to the AYA roster,
 9
     referenced in Dkt. No. 33-8. Moreover, it is not sufficient for Plaintiffs to produce this with
10
     the emails of recipients redacted now that there is a protective order in place, Dkt. 215.
11
     Plaintiffs have directly relied upon the answers provided by individuals who responded to that
12
     survey as evidence of the sincerity of its members’ religious beliefs. See Dkt. 33 at 16 (citing
13
     to survey and stating that “almost all, 91.1% approach Ayahuasca communion as a religious
14
     experience”). Information concerning the “membership” of AYA is “reasonably calculated
15
     to lead to discovery of admissible evidence concerning the genuineness of Plaintiffs’ religious
16
17   beliefs.” Oklevueha, 2013 WL 3243371, at *5. Defendants are entitled to know who the survey

18   was sent to in order to identify potential witnesses as well as the text of the email to members

19   soliciting survey responses. If such a document exists, Plaintiffs should be ordered to search

20   for and provide it by a date certain.
21   Plaintiffs’ Position:
22   Plaintiffs have searched for drafts of the survey, and none exist. Plaintiffs have not yet
23   located the email; however, it should be possible to do so, and Plaintiffs will produce it
24   immediately upon discovery.
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 1   Issue 5: Plaintiffs’ Objections
 2   Defendants’ Position:
 3   In response to Defendants’ discovery requests, Plaintiffs must provide all “nonprivileged
 4   matter that is relevant to any party’s claim or defense and proportional to the needs of the
 5   case.” In attempt to avoid these obligations, Plaintiffs assert a series of series of unrecognized
 6   or inapplicable privileges in their discovery objections. As the Supreme Court has made clear,
 7
     “[e]videntiary privileges in litigation are not favored.” Herbert v. Lando, 441 U.S. 153, 175
 8
     (1979). And the “existing limited privileges against disclosure . . . ‘are not lightly created nor
 9
     expansively construed.’” Id. (quoting United States v. Nixon, 418 U.S. 683, 710 (1974)). Here,
10
     Plaintiffs largely invoke state-law privileges. However, under Fed. R. Evid. 501, a state-law
11
     privilege is only applicable “regarding a claim or defense for which state law supplies the rule
12
     of decision.” Because “federal law” provides the sole substantive basis for Plaintiffs’ RFRA
13
     claim, “federal privilege law is to be applied.” Crowe v. Cnty. of San Diego, 242 F. Supp. 2d 740,
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     747 (S.D. Cal. 2003).
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     Plaintiffs’ Position:
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     Not provided
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 1      A. Confidentiality promises made to third parties
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 3   Defendants’ Position:
 4   Plaintiffs cannot withhold information on the basis that disclosing such information
 5   “encroach[es] on the promises of confidentiality AYA has made to third parties.” Plaintiffs
 6   identify no legal or even factual basis for this objection in their responses and on that basis
 7
     alone it should not be sustained. “[O]nly privilege, not confidentiality, is a valid objection
 8
     under Fed. R. Civ. P. 26(b).” Walt Disney Co. v. DeFabiis, 168 F.R.D. 281, 283 (C.D. Cal. 1996).
 9
     “[A]nd a general interest in protecting confidentiality does not equate to privilege,” and it is
10
     well established that “[c]onfidentiality agreements do not bar discovery.” In re Application of
11
     O’keeffe, 2016 WL 2771697, at *4 (collecting cases). Moreover, whatever interests Plaintiffs
12
     have in keeping responsive information private can be maintained by disclosing this
13
     information pursuant to the protective order. See Dkt. No. 215; see also Na’l Acad. of Recording
14
     Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 681 (C.D. Cal. 2009) (noting
15
     nonprivileged “highly confidential” information can be protected under a protective order).
16
     Plaintiffs’ Fourth Amendment objection, which is waived as they raise it for the first time in
17
18   this joint statement, has no bearing in civil discovery. See Lease, 2009 WL 922486, at *5.

19
20   Plaintiffs’ Position:

21   Plaintiffs’ custody of emails and private communications with AYA members and other
22   AYA correspondents does not provide Plaintiffs with authority to consent to Defendants’
23   search of correspondents’ papers protected by Fourth Amendment warrant requirement.
24   Defendants’ inquiries and demands are also constrained by the First Amendment.
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 1      B. Medical Records
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     Defendants’ Position:
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     Plaintiffs cannot withhold information on the basis that disclosing such information would
 4
     violate the “protect[ion] by privacy statutes governing disclosure of medical records.”
 5
     Plaintiffs claim the basis for this privilege is Arizona Law, A.R.S. § 12-2291. As stated above,
 6
     a state law privilege is not applicable where federal law provides the substantive basis for this
 7
     case. See Fed. R. Evid. 501. Regardless, this statute applies only to specific medical records
 8
     maintained by a “a health care provider,” which under the statute, would not include Plaintiffs.
 9
     See id. § 12-2291(5) (defining healthcare provider as a licensed medical professional who
10
     maintains medical records, a health care institution, ambulance service, or a health care plan).
11
     Moreover, a medical record is defined as a record “maintained for purposes of patient
12
13   diagnosis or treatment.” See id. § 12-2291(6). Neither Plaintiffs are licensed health care

14   providers who may invoke this privilege. To the contrary, Plaintiffs explicitly disclaim such in

15   AYA’s Code of Ethics, which states: “We do not make medical claims … We engage in a

16   religious practice, not a medical practice.” See Dkt. 33-5 at 2. Plaintiffs’ Fourth Amendment
17   objection is waived and has no bearing in civil discovery. See Lease, 2009 WL 922486, at *5.
18
19   Plaintiffs’ Position:
20   Plaintiffs do not claim to be medical providers; however, they are in possession of
21
     documents that can properly be considered the private medical papers of third parties.
22
     Plaintiffs’ custody of private medical papers does not provide Plaintiffs with authority to
23
24   consent to Defendants’ search of correspondents’ papers protected by Fourth Amendment
25   warrant requirement. Accordingly, while the medical records statute per se may not be
26
     applicable, it does provide AYA correspondents with a reasonable expectation of privacy as
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28   to those documents.


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 1      C. First Amendment Religion Clauses
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     Defendants’ Position:
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     Plaintiffs object to many of Defendants’ discovery requests as “violating Plaintiffs’ rights of
 4
     Free Exercise” and “violating AYA’s right under the Establishment Clause to be free of
 5
     government process probing internal church activities.” There is no such privilege under the
 6
     Federal Rules. Plaintiffs state they wish to “share their religion in the broad light of day,” Dkt.
 7
     159 ¶ 19. But they may not bring a civil suit seeking an exemption from the government to
 8
     distribute a controlled substance and refuse to fully partake in civil discovery by invoking the
 9
     First Amendment religion clauses as a shield. While the “First Amendment’s Free Exercise
10
     Clause and Establishment Clause offer religious organizations wide latitude to structure and
11
     govern their organizations in accordance with their own sincerely held beliefs, . . . the religion
12
13   clauses do not offer an immunity against civil discovery.” Byzantine, 2022 WL 3597106, at *3.

14   Defendants are entitled to information to test the “genuineness of Plaintiffs’ religious beliefs

15   and whether the Controlled Substance Act is a substantial burden on those beliefs,” Oklevueha,

16   2013 WL 3243371, at *5, and Plaintiffs may not invoke the religion clauses as a privilege to
17   withhold such information, Cason v. Federated Life Ins., 510 F. App’x 663, 665 (9th Cir. 2013).
18
19   Plaintiffs’ Position:
20   For government agencies to use compulsory process to discover the finances of churches
21
     violates the Establishment Clause. See Surinach v. Pesquera De Busquets, 604 F.2d 73, 78 (1st
22
     Cir. 1979) and its progeny, cited supra. Defendants argue Byzantine Cath. Eparchy of Phoenix v.
23
24   Burri L. PA, No. CV-20-00779-PHX-ROS (2022) means a church that files a civil suit
25   relinquishes its First Amendment rights, but in Byzantine Catholic, a church tried to assert a
26
     First Amendment defense against a private law firm without citing any authority, which is
27
28   not the case here. Cason v. Federated Life Ins. Co., 510 F. App'x 663 (9th Cir. 2013) is also


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     inapposite, because there, “the subpoena had a secular purpose, did not advance or inhibit
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 2   religion, and did not foster excessive government entanglement with religion.” Id. at 665.
 3   In this case, the Defendants have no secular purpose, and transparently seeks to probe
 4
     church doctrine for evidence of insincerity; the Defendants seek to inhibit Plaintiffs’ practice
 5
 6   of religion; and, the DEA claims it must obtain a vast scope of irrelevant information for a

 7   regulatory purpose, that inevitably implicates the risks of entanglement. See Surinach, supra.
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 1      D. Priest-penitent privilege
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     Defendants’ Position:
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     Plaintiffs object to Defendants’ discovery requests on the basis of the “priest-penitent
 4
     privilege” under Arizona law. A state law privilege is not applicable where federal law provides
 5
     the substantive basis for this case. See Fed. R. Evid. 501. The Federal Rules of Evidence do
 6
     not recognize this privilege, and “Congress refused to expressly include a priest-penitent
 7
     privilege in the Federal Rules of Evidence.” United States v. Fabricant, 2008 WL 11504222, at *4
 8
     (C.D. Cal. Aug. 20, 2008). Where courts have recognized this privilege, it is largely limited to
 9
     protecting communications “in which a person privately confessed his or her sins to a priest,
10
     in order to receive some form of church sanctioned discipline or absolution.” In re Grand Jury
11
     Investigation, 918 F.2d at 386; see also Wells, 446 F.2d 2 at 4 (the privilege “appears to be restricted
12
13   to confidential confession or other confidential communications of a penitent seeking spiritual

14   rehabilitation”). Plaintiffs do not identify any such “confession[s]” covered under the priest-

15   penitent privilege and may not assert the privilege as a “blanket exclusion” Fabricant, 2008 WL

16   11504222, at *4. Whether Stanley may claim a privilege will turn on this Court’s determination
17   of whether: AYA is religious, Stanley is a minister, and the information is akin to a confession.
18
     Plaintiffs’ Position:
19
20   “A determination of whether the clergy-penitent privilege applies involves a three-step
21   inquiry: (1) Is the person who received the confession a ‘clergyman or priest?’ (2) Was the
22   confession made while the clergyman or priest was acting in his professional capacity? (3)

23   Was the confession made in the course of discipline enjoined by the church to which the

24   clergyman or priest belongs? If the answer to all three inquiries is affirmative, then the
     clergy-penitent privilege under § 13-4062(3) applies, unless the privilege is waived.”
25
     State v. Archibeque, 223 Ariz. 231, 234, 221 P.3d 1045, 1048 (Ct. App. 2009). Plaintiffs submit
26
     as foundational facts: Plaintiff Stanley that he is the founder of AYA, and serves as the lead
27
     facilitator, offering ceremony in the District of Arizona approximately 250 times since April
28


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     22, 2020; during ceremonies it is not uncommon for participants to be seized with regret for
 1
     past actions, and desire to disclose such matters directly to him. As in other religions, the
 2
     disclosure of faults leads to relief from guilt and acceptance of Divine love and healing.
 3
     Matters so disclosed are subject to a privilege that Plaintiff Stanley must protect.
 4
 5
 6
 7
 8   Dated: February 12, 2024                Respectfully submitted,
 9
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     Certification.
 1
            Counsel for Defendants and Plaintiffs hereby certify that they have attempted to
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     resolve the instant dispute through personal consultation and sincere effort in accordance with
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     Rule 7.2(j) and the Rule 16 Scheduling Order.
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